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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA

ADETAYO ADEDIPE, JAMES J.                      Court File No. 13-cv-02687 (JNE/JJK)
THOLE, MARLENE JACKSON,                        CLASS ACTION
and SHERRY SMITH on behalf of
themselves individually, and on
behalf of all others similarly situated,
               Plaintiffs,
       vs.
U.S. BANK, NATIONAL
ASSOCIATION, individually and as
successor in interest to FAF
ADVISORS, INC., U.S. BANCORP,
NUVEEN ASSET MANAGEMENT,                        CONSOLIDATED
LLC, as successor in interest to FAF            AMENDED CLASS ACTION
ADVISORS, INC., RICHARD K.                      COMPLAINT
DAVIS, DOUGLAS M. BAKER,
JR., Y. MARC BELTON, PETER H.
COORS, JOEL W. JOHNSON,
OLIVIA F. KIRTLEY, O’DELL M.
OWENS, CRAIG D. SCHNUCK,
ARTHUR D. COLLINS, JR.,
VICTORIA BUYNISKI
GLUCKMAN, JERRY W. LEVIN,
DAVID B. O’MALEY, PATRICK T.
STOKES, RICHARD G. REITEN,
WARREN R. STALEY, and JOHN
and JANE DOE 1-20,
              Defendants.




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            Plaintiffs, Adetayo Adedipe, James J. Thole, Marlene Jackson and Sherry Smith
(“Plaintiffs”) on behalf of themselves and all others similarly situated, by and through
their counsel, allege as follows:
                            I.      NATURE OF THE ACTION
            1.    Plaintiffs, who are participants in the U.S. Bancorp (“U.S. Bancorp” or the
“Company”) Pension Plan (the “Plan”), bring this class action on behalf of the Plan
pursuant to § 502(a) of the Employee Retirement Income Security Act of 1974
(“ERISA”), 29 U.S.C. § 1132(a), against Plan fiduciaries for violations of ERISA arising
out of their policies and practices with respect to the investment of the Plan’s assets.
            2.    From at least September 30, 2007 to December 31, 2010 (the “Class
Period”), the Defendants caused the Plan to invest approximately 100% of its assets in
one asset class, equities (the “100% Equities Strategy”). Defendants maintained the
100% Equities Strategy throughout the Class Period despite persistent indications of
market instability including a sharp increase in the volatility of the equities market and
increased correlation among all stocks, which ultimately became a “full blown crisis” in
2008.
            3.    The 100% Equities Strategy was inappropriately risky, imprudent, disloyal
and undiversified; it served the interests of the Defendants rather than the Plan and its
participants; it exposed the assets of the Plan to substantial risk; and it caused significant
losses to the Plan. By comparison, the average asset allocation for the top 100 defined
benefit plans at year-end 2007 was: 59% equities, 30% fixed income/debt securities, 1%
cash, 3% real estate, and 7% other asset classes.
            4.    As a result of the several violations of ERISA committed by Defendants,
the Plan lost $1.1 billion in 2008 and has plummeted from being significantly overfunded
at the end of 2007 to being significantly underfunded.



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            5.   Effective in 2007, two new committees of Named Fiduciaries were named
for the Plan: the U.S. Bancorp Compensation Committee (the “Compensation
Committee”) and the U.S. Bancorp Investment Committee (the “Investment Committee”)
(collectively, the “Committee Defendants”).          On information and belief, these
committees were appointed by the U.S. Bancorp Board of Directors, and they were
charged with, among other things, (i) determining the type and allocation of the Plan’s
investments; (ii) selecting, monitoring, and terminating Plan investments; (iii) appointing,
monitoring, and terminating the Plan Trustee; and (iv) selecting, monitoring, and
terminating Plan investment advisors.
            6.   After their appointment, and throughout the Class Period, the
Compensation Committee Defendants and the Investment Committee Defendants, on
information and belief, did not review the existing allocation of the Plan’s assets.
Defendants failed to review the investment allocation despite multiple indicators of a
deepening financial and economic crisis including a sharp increase in the volatility of the
equities market and increased correlation among all stocks which exposed the Plan to an
unnecessary risk of loss, and which should have caused the Committee Defendants to
reevaluate the 100% Equities Strategy. Defendants therefore failed to maintain a prudent,
loyal, and diversified allocation for the Plan’s assets. The Committee Defendants also
failed to adequately monitor the Plan’s investments and failed to monitor and take
appropriate steps to remove the Plan’s Investment Manager1, FAF Advisors, a wholly-
owned subsidiary of U.S. Bank, N.A. Specifically, throughout the Class Period, the
Committee Defendants permitted and/or caused FAF Advisors to continue to invest the


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    The relevant Plan documents allow for the appointment of “investment managers” and
    “investment advisors.”      The Consolidated Amended Complaint uses the term
    “Investment Manager” to mean FAF Advisors, Inc. specifically. The term “investment
    advisor,” as used herein, means all entities providing advisory services to the Plan
    Trustee and the Compensation and Investment Committees related to the investment of
    Plan assets and includes the Investment Manager, FAF Advisors, Inc.
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Plan’s assets in an imprudent, disloyal, and undiversified 100% Equities Strategy. This
strategy served the Company’s interest and the interest of its subsidiary, FAF Advisors,
to the detriment of the Plan and its participants, because (i) FAF invested over 40% of the
Plan’s assets, or $1.25 billion, in its own mutual funds, (ii) FAF invested the remainder of
the portfolio in equity securities which supported FAF Advisors’ own securities lending
program (the “SLP”), and (iii) the excessively risky 100% Equities Strategy allowed the
Company to project extremely high returns for the pension portfolio which improved the
Company’s bottom line. In addition, several individual Defendants benefitted personally
from the increased profits reported by the Company through the exercise and sale of
stock options.
            7.   By failing to review the 100% Equities Strategy even as volatility in the
equities market doubled, signaling a four-fold increase in the uncertainty of the equities
market, and by permitting FAF Advisors to engage in imprudent and self-interested
investment practices during the Class Period, the Compensation and Investment
Committee Defendants caused the Plan to continue to be 100% invested in equities, either
in direct stock holdings or through mutual funds managed by FAF Advisors, which
served the Company’s interest while exposing the Plan to unnecessary risk of loss. The
Committee Defendants failed to prudently and loyally balance the need to generate
investment returns with the need to safeguard principal through proper risk management
and diversification among different asset classes. As instability in the equities market
worsened at the end of 2007 and the beginning of 2008, the 100% Equities Strategy
exposed the Plan to increasing risk of large losses and ultimately caused devastating
losses of over $1.1 billion by the end of 2008.
            8.   As further explained below, volatility in the equities market doubled during
the first half of 2008 after having remained constant since 2004 and the correlation
among all stocks significantly increased, further compounding the lack of diversification
of the Plan’s assets.
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            9.    During the Class Period, the Plan also participated in FAF Advisors’ SLP,
whereby FAF Advisors also acted as a Plan fiduciary by directing the re-investment of
the Plan’s cash collateral received from third parties who borrowed the Plan’s equity
securities through the SLP. As explained below, FAF Advisors had a duty to reinvest the
Plan’s cash collateral only in high quality, low risk investments (akin to money market
funds) so as to fully protect the collateral from principal losses.          Despite these
obligations, FAF Advisors invested the collateral the Plan received in two of its
proprietary securities lending portfolios (the “Mount Vernon Portfolios”). FAF then
invested the Mount Vernon Portfolios in high risk, low quality assets-backed commercial
paper issued by three structured investment vehicles (“SIVs”) backed by toxic subprime
mortgage and Alt-A securities. Prior to and throughout the Plan’s investment in the
Mount Vernon Portfolios, FAF Advisors did not conduct an adequate independent
investigation into the nature and quality of the assets backing these SIVs. After the SIVs
defaulted in 2007, FAF Advisors engaged in fraudulent transfers of losses from one
Mount Vernon Portfolio to another in order to preserve its reputation.
            10.   In 2008, as a result of FAF Advisors’ mismanagement and fraudulent acts,
the Plan collateral held under securities lending arrangements with FAF declined in value
by more than $14 million.
            11.   On information and belief, by March 2008, U.S. Bancorp, the U.S. Bancorp
Board of Directors, U.S. Bank, N.A., and the Committee Defendants possessed clear and
convincing evidence that FAF Advisors had breached its fiduciary duties to the Plan by
imprudently and disloyally investing the Plan’s securities lending collateral.
            12.   By April 2008, the Committee Defendants should have acted to safeguard
the Plan’s principal by removing FAF Advisors and appointing a prudent and loyal
fiduciary as Investment Manager.         Additionally, the Defendants should have made
reasonable efforts thereafter to remedy FAF Advisors’ fiduciary breaches by, among
other things, bringing an action against FAF Advisors to recover the Plan’s losses.
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            13.   Multiple significant changes in circumstance should have caused the
Committee Defendants, U.S. Bancorp, and U.S. Bank, N.A. to reevaluate the selection of
FAF Advisors as the Plan’s Investment Manager; the investments of the Plan; and the
100% Equities Strategy. For example, the SEC investigation of FAF Advisors and FAF’s
own internal investigation indicated that FAF Advisors was not a loyal and prudent
fiduciary. In addition, the increased volatility in the equities market and the significant
increase in correlation among all stocks exposed the Plan, which was exclusively
invested in equities, to an even greater risk of loss and further exacerbated the lack of
diversification of the Plan’s assets.
            14.   Nonetheless, the Committee Defendants, the Board of Director Defendants,
and U.S. Bank, N.A. failed to fulfill their fiduciary duties. The Compensation Committee
continued to retain FAF Advisors as the Plan’s Investment Manager; this arrangement
indirectly benefited the Company. The Committee Defendants, the Board of Director
Defendants, and U.S. Bank, N.A. also continued to pursue the 100% Equities Strategy by
directing or permitting FAF Advisors to manage the Plan’s assets in an overly aggressive
and undiversified manner and to keep the Plan’s assets invested exclusively in equities, a
significant portion of which were directly invested in FAF Advisors’ own mutual funds.
            15.   The Compensation and Investment Committee Defendants and the Board of
Director Defendants maintained the overly risky, imprudent, and disloyal 100% Equities
Strategy until the Company’s self-interest in having its own subsidiary manage the multi-
billion Plan was removed when the Company sold FAF Advisors in December 2010.
Thereafter, in 2011, the Committee Defendants began to diversify the investment of the
Plan’s assets by devoting a portion of the Plan’s assets to fixed income securities. By
2012, the Committee Defendants had diversified the Plan’s assets by reducing the
allocation to equities to 75% and including a 20% allocation to fixed income securities
and a 5% allocation to real estate.


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            16.   During the Class Period, the Committee Defendants, the Board of Director
Defendants, U.S. Bank, N.A. and FAF Advisors breached their fiduciary and co-fiduciary
duties in several ways.         These Defendants failed to act solely in the interest of
participants and beneficiaries of the Plan by pursuing and/or permitting the pursuit of a
100% Equities Strategy which served the interest of the Company, its Directors, and FAF
Advisors rather than the Plan and its participants. These Defendants also failed to act
with care, skill, prudence, and diligence by failing to diversify the assets of the Plan
between asset classes so as to minimize the risk of large losses in violation of Sections
404(a)(1)(A), (B), and (C) of ERISA, 29 U.S.C. §§ 1104(a)(1)(A),(B), and (C).
Defendants also engaged in prohibited transactions and dealt with the assets of the Plan in
their own interest in violation of Sections 406(a) and (b) of ERISA, 29 U.S.C. §§ 1106(a)
and (b).
            17.   In addition, the Committee Defendants and the Board of Director
Defendants failed to periodically monitor the Plan’s investments, and the Compensation
Committee Defendants failed to promptly remove FAF Advisors after it became known
that FAF Advisors had engaged in fraudulent transfers of assets and imprudently and
disloyally invested the Plan’s assets.
            18.   The Compensation Committee Defendants and Board of Director
Defendants also failed to make reasonable efforts to remedy FAF Advisors’ breaches by
bringing an action against FAF Advisors to recover the losses to the Plan resulting from
FAF Advisors’ imprudent and disloyal investment of the Plan’s securities lending
collateral.
            19.   Plaintiffs bring this action pursuant to ERISA §§ 409 and 502(a), 29 U.S.C.
§§ 1109 and 1132(a), to remedy these breaches and to recover losses to the Plan for
which Defendants are personally liable, and to disgorge any unjust profits received by
certain Defendants. Plaintiffs also bring this action for equitable relief, including but not
limited to disgorgement of profits improperly obtained by several members of the Board
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of Directors in violation § 406 of ERISA, 29 U.S.C. § 1106. Further, under §§ 409,
502(a)(2) and 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3), Plaintiffs also seek other
equitable relief from Defendants, including, without limitation, injunctive relief, a court-
appointed fiduciary, and, as available under applicable law, constructive trust, restitution,
equitable tracing, and other monetary relief.
            20.   Plaintiffs’ allegations in this Amended Complaint are based upon their own
personal information and the investigation of Plaintiffs’ counsel, which included a review
of the available documents governing the operations of the Plan, U.S. Bancorp’s filings
with the U.S. Securities and Exchange Commission (“SEC”), and the Plan’s Forms 5500
filed with the U.S. Department of Labor (“DOL”) by U.S. Bancorp. Because most of the
information and documents on which Plaintiffs’ claims are based are in Defendants’
possession, certain of Plaintiffs’ allegations are by necessity made upon information and
belief. At such time as Plaintiffs have the opportunity to conduct discovery, Plaintiffs
will, to the extent necessary and appropriate, amend this Complaint.

                          II.      JURISDICTION AND VENUE
            21.   Subject Matter Jurisdiction. This Court has subject matter jurisdiction
over this action pursuant to 28 U.S.C. § 1331 and ERISA § 502(e)(1), 29 U.S.C. § 1132
(e)(1).
            22.   Personal Jurisdiction. ERISA provides for nationwide service of process.
ERISA § 502(e)(2), 29 U.S.C. § 1132 (e)(2). All of the Defendants are either residents of
the United States or subject to service in the United States, and this Court therefore has
personal jurisdiction over them.
            23.   Venue. Venue is proper in this district pursuant to ERISA § 502(e)(2), 29
U.S.C. § 1132 (e)(2), because the Plan is administered in this district, some or all of the
fiduciary breaches for which relief is sought occurred in this district, and several
Defendants, including U.S. Bank, N.A., U.S. Bancorp, Douglas M. Baker, Y. Marc

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Belton, and Richard K. Davis, reside, regularly conduct business, or otherwise may be
found here.


                                      III.     PARTIES
A.          Plaintiffs
            24.    Plaintiff Adetayo Adedipe is a participant of the Plan within the meaning
of ERISA § 3(7), 29 U.S.C. § 1002(7). Plaintiff Adedipe was employed by U.S. Bank
from 2001 to 2007 and was credited with five years of service under the Plan prior to
terminating her employment with U.S. Bank/U.S. Bancorp on April 27, 2007. Plaintiff
Adedipe is therefore a vested participant in the Plan who is now entitled to receive a
Normal Retirement Benefit under the Plan starting in January 1, 2022. Plaintiff Adedipe
is a resident of Lathrop, California.
            25.    Plaintiff James J. Thole is a participant of the Plan within the meaning of
ERISA § 3(7), 29 U.S.C. § 1002(7).              Plaintiff Thole, who is a Certified Public
Accountant, was the Controller/Financial Manager of U.S. Bank’s Metropolitan Retail
Banking Division for the St. Louis, Missouri Region from 1983 to 2011. Mr. Thole is
therefore a vested participant in the Plan who is currently receiving a pension benefit
from the Plan. Plaintiff Thole is a resident of Manchester, Missouri.
            26.    Plaintiff Marlene Jackson is a participant of the Plan within the meaning
of ERISA § 3(7), 29 U.S.C. § 1002(7). Plaintiff Jackson was employed by U.S. Bank
and/or the Mercantile Bancorporation, Inc. (“Mercantile Bank”), which was merged into
U.S. Bank, as a check processing clerk from 1990 until August 2009. Plaintiff Jackson is
therefore a vested participant in the Plan who is now entitled to receive a Normal
Retirement Benefit under the Plan starting in 2018. Plaintiff Jackson is a resident of
Alton, Illinois.
            27.    Plaintiff Sherry Smith is a participant of the Plan within the meaning of
ERISA § 3(7), 29 U.S.C. § 1002(7). Plaintiff Smith was employed by U.S. Bank and/or
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the Mercantile Bank as an overnight check processing clerk from 1990 until August
2009. Plaintiff Smith is therefore a vested participant in the Plan who is currently
receiving a pension benefit from the Plan. Plaintiff Smith is a resident of Alton, Illinois.

B.          Defendants
            28.   Defendant U.S. Bank, National Association (“U.S. Bank, N.A.” or “U.S.
Bank”), individually and as successor in interest to FAF Advisors, Inc., located at
180 East Fifth Street, St. Paul, MN 55164, is a national banking association organized
under the laws of the United States and it is a wholly owned subsidiary of U.S. Bancorp.
U.S. Bank, N.A., as the Plan Trustee, is a named fiduciary of the Plan within the meaning
of ERISA Section 402(a), 29 U.S.C. § 1102(a), having been so designated in the U.S.
Bancorp Pension Plan (2002 Restatement) adopted and approved by U.S. Bancorp on
December 27, 2002 (hereinafter the “Plan Document”). During the Class Period, U.S.
Bank, N.A. was the parent of FAF Advisors, Inc., which managed all of the Plan’s
investments as the Plan’s appointed Investment Manager. FAF Advisors also managed
the First American Family of mutual funds, in which up to $1.25 billion of the Plan’s
assets were invested during the Class Period. In or around December 2010, U.S. Bank,
N.A. sold FAF Advisors’ business of providing investment management services to
Defendant Nuveen Asset Management, and as part of the sale, U.S. Bank, N.A. retained
certain assets and liabilities of FAF Advisors, Inc.
            29.   Defendant U.S. Bancorp is a diversified financial services company
organized under the laws of the State of Delaware that provides, among other things,
lending and depository services, cash management, credit card, mortgage banking and
investment management services. U.S. Bancorp, with its headquarters at 800 Nicollet
Mall, Minneapolis, MN 55402, is the parent company of U.S. Bank, N.A.
            30.   Defendant Nuveen Asset Management, LLC, as successor in interest to
FAF Advisors, Inc., is an asset management firm organized under the laws of the State

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of Delaware, with a principal place of business at 333 W. Wacker Drive, Chicago, IL,
60606. Nuveen Asset Management, LLC acquired certain assets and liabilities of FAF
Advisors, Inc. from U.S. Bancorp in or around December 2010.
The U.S. Bancorp Board of Directors Defendants
            31.   The U.S. Bancorp Board of Directors has the power to appoint and remove
members of the U.S. Bancorp Compensation Committee. Upon information and belief,
the U.S. Bancorp Board of Directors also has the power to appoint and remove members
of the Investment Committee.
            32.   Defendant Richard K. Davis is currently the Chief Executive Officer,
Chairman of the Board of Directors, and President of U.S. Bancorp. Mr. Davis has
served as U.S. Bancorp’s CEO since December 2006; as the Chairman of the Board of
Directors since December 2007; and as President since October 2004.
            33.   Defendant Douglas M. Baker, Jr. is currently a Director of U.S. Bancorp
and has served in this position since January 2008.
            34.   Defendant Y. Marc Belton is currently a Director of U.S. Bancorp and has
served in this position since March 2009.
            35.   Defendant Richard G. Reiten served as Director of U.S. Bancorp from
approximately 1998 until 2012. Mr. Reiten is the former Chief Executive Officer at
Northwest Natural Gas Co. Mr. Reiten was a Director throughout the Class Period.
            36.   Defendant Warren R. Staley served as a Director of U.S. Bancorp from at
least 2006 – 2007. Mr. Staley is the former Chief Executive Officer of Cargill, Inc.
            37.   Defendant Joel W. Johnson is currently a Director of U.S. Bancorp and
has served in this position since 1999. Mr. Johnson was a Director throughout the Class
Period.
            38.   Defendant Olivia F. Kirtley is currently a Director of U.S. Bancorp and
has served in this position since October 2006.         Ms. Kirtley is a certified public


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accountant, and has previously served as a member of the Compensation and Audit
Committees of the Papa John’s International, Inc. Board of Directors.
            39.   Defendant O’Dell M. Owens, M.D., M.P.H., is currently a Director of
U.S. Bancorp and has served in this position since 1991. Mr. Owens was a Director
throughout the Class Period.
            40.   Defendant Craig D. Schnuck is currently a Director of U.S. Bancorp and
has served in this position since 2002. Mr. Schnuck was a Director throughout the Class
Period. From 1979 to 1991, Mr. Schnuck served as bank director for various predecessor
banks of U.S. Bank.
            41.   Defendants Davis, Baker, Belton, Reiten, Staley, Johnson, Kirtley, Owens,
Schnuck, and the Compensation Committee Defendants identified below, who, on
information and belief, are all members of the U.S. Bancorp Board of Directors, are
collectively referred to as the “Board of Director Defendants.”
The U.S. Bancorp Compensation Committee Defendants
            42.   At all times during the Class Period the Compensation Committee was a
Named Fiduciary of the Plan, within the meaning of ERISA Section 402(a), 29 U.S.C. §
1102(a), having been so designated on or about August 1, 2006 in the Fifth Amendment
to the Plan Document.2
            43.   Defendant Peter H. Coors served as a Director of U.S. Bancorp from at
least 2006 – 2007, and served as a member of the Compensation Committee in 2007. Mr.
Coors is Chairman of the Molson Coors Brewing Company and Chairman of
MillerCoors.
            44.   Defendant Arthur D. Collins, Jr. is currently a Director of U.S. Bancorp,
and has served in this position since 1996. On information and belief, Mr. Collins has


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    In or around 2009, the Compensation Committee was re-named the “Compensation and
    Human Resources Committee.” Plaintiffs will refer to this Committee throughout the
    Class Period as the “Compensation Committee.”
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been a member of the U.S. Bancorp Compensation Committee from at least 1996 to the
present. He is currently a Senior Advisor at Oak Hill Capital Partners, which he joined in
2009. Mr. Collins consults across Oak Hill Capital's private equity portfolio.
            45.     Defendant Victoria Buyniski Gluckman is currently a Director of U.S.
Bancorp, and has served in this position since 1990. On information and belief, Ms.
Gluckman has been a member of the U.S. Bancorp Compensation Committee from at
least 1990 to the present.
            46.     Defendant Jerry W. Levin is currently a Director of U.S. Bancorp, and
has served in this position since 1995. On information and belief, Mr. Levin has been a
member of the U.S. Bancorp Compensation Committee from at least 1995 to the present.
Mr. Levin is currently the Chair of the Compensation Committee. Mr. Levin serves as
the Chairman of the Board and Chief Executive Officer at JW Levin Partners LLC and
JWL Partners Acquisition Corp.
            47.     Defendant David B. O’Maley is currently a Director of U.S. Bancorp, and
has served in this position since 1995. On information and belief, Mr. O’Maley has been
a member of the U.S. Bancorp Compensation Committee from at least 1995 to the
present.          Since 1994, Mr. O’Maley has served as an Executive Chairman of Ohio
National Mutual Holdings Inc. and various affiliates, including Ohio National Financial
Services Inc. and Ohio National Life Insurance Co.
            48.     Defendant Patrick T. Stokes is currently a Director of U.S. Bancorp, and
has served in this position since 1990. On information and belief, Mr. Stokes has been a
member of the U.S. Bancorp Compensation Committee from at least 1992 to the present.
            49.     John and Jane Doe 1-10.      To the extent that persons other than the
individual Compensation Committee Defendants served on the U.S. Bancorp
Compensation Committee during the Class Period or had responsibilities with respect to
the investment or management of Plan assets during the Class Period, they are named as


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Defendants John and Jane Doe 1-10. Once their true identities are ascertained, Plaintiffs
will seek leave to join them under their true names.
            50.   Defendants Coors, Collins, Gluckman, Levin, O’Maley, Stokes, and John
and Jane Doe 1-10 all served as members of the Compensation Committee of the U.S.
Bancorp Board of Directors during the Class Period and are collectively referred to as the
“Compensation Committee Defendants.”
The U.S. Bancorp Investment Committee Defendants
            51.   During the Class Period, the U.S. Bancorp Investment Committee was a
Named Fiduciary of the Plan within the meaning of ERISA Section 402(a), 29 U.S.C. §
1102(a), having been so designated in the Fifth Amendment to the Plan.
            52.   John and Jane Doe 11-20. Plaintiffs currently do not know the identities
of the members of the Investment Committee during the Class Period. As such, they are
named as Defendants John and Jane Doe 11-20.                Once their true identities are
ascertained, Plaintiffs will seek leave to join them under their true names.


                                    IV.      THE PLAN
            53.   The Plan is an “employee pension benefit plan” as defined by ERISA
§ 3(2)(A) of 29 U.S.C. § 1002(2)(A). The Plan is a noncontributory “defined benefit
plan” within the meaning of ERISA § 3(35), 29 U.S.C. § 1002(35), and a legal entity that
can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1). While the Plan is not
a party to this action, the relief requested in this action is for the benefit of the Plan,
pursuant to ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2).
            54.   The Plan was established effective January 1, 2002, by the merger of
several predecessor plans sponsored by U.S. Bancorp and other corporations which
merged into U.S. Bancorp.
            55.   The purpose of the Plan is to provide a monthly retirement income based on
a U.S. Bancorp employee’s pay and years of service.
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            56.   U.S. Bancorp and its subsidiaries make all contributions to the Plan. For
years ending December 31, 2006 – 2011, U.S. Bancorp was able to avoid making any
minimum contributions to the Plan. For the year ending December 31, 2012, U.S.
Bancorp made contributions to the Plan of $258,579,921.
            57.   During the Class Period, the Plan was maintained pursuant to the Plan
Document effective as of January 1, 2002; this is one of the documents governing the
Plan within the meaning of ERISA Section 402(a)(1), 29 U.S.C. § 1102(a).
            58.   Trustee. During the Class Period, the assets of the Plan were maintained
by the Trustee, U.S. Bank, N.A., in a trust fund (the “Trust Fund”) governed by a
“separate written instrument entitled ‘U.S. Bank Pension Plan Trust Agreement’ entered
into by and between U.S. Bancorp and the Trustee as of January 1, 2002” (the “Pension
Plan Trust Agreement”). Effective January 21, 2011, the assets of the Plan were merged
with the assets of another pension plan and are currently held in trust under the Master
Trust Agreement.
            59.   According to the Plan Document as amended by the Fifth Amendment
thereto, during the Class Period, U.S. Bank, N.A., as the Trustee, had “the exclusive
authority to manage and control the assets of the Plan held in trust and their custody and
shall not be subject to the direction of any person in the discharge of its duties…. except
as provided in the Trust Agreement entered into between the Compensation Committee
and the Trustee.”
            60.   As provided in the Plan Document, during the Class Period, the Plan’s
assets were held by the Trustee, U.S. Bank N. A., for the benefit of the participants and
beneficiaries of the Plan in “a Fund for the purpose of receiving contributions made in
support of the Plan, managing the assets of the Plan, paying the reasonable expenses of
the Plan and disbursing benefits determined … to be due under the Plan.”
            61.   Reversion of Fund Prohibited. The Plan Document expressly prohibits the
reversion of Plan assets to the Company. Specifically, the Plan Document states that the
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assets of the Plan “shall at all times be a trust fund separate and apart from the assets of
the [Company], and no part thereof shall be or become available to the Company or to
creditors of the Company under any circumstances other those specified in this Plan
Statement. Prior to the termination of the Plan and except as permitted by ERISA and the
Code …, it shall be impossible for any part of the corpus or income of the Fund to be
used for, or diverted to, purposes other than for the exclusive benefit of Participants, joint
annuitants and Beneficiaries[.]”
            62.   Eligibility and Participation. Eligible employees automatically become
participants in the Plan on the first January 1 or July 1 after they reach 21 years of age
and have completed one year of service during which they worked 1,000 hours or more.
            63.   Participants become 100% vested in the Plan after completing five years of
vesting service; a year of vesting service is each calendar year in which a participant has
1,000 hours of service.
            64.   Each of the Plaintiffs is vested in the Plan and is either eligible to receive a
retirement benefit or is currently receiving a retirement benefit under the Plan.

                  V.      FIDUCIARY STATUS OF THE DEFENDANTS

            65.   Named Fiduciaries.       Every Plan must specify one or more named
fiduciaries of the Plan, pursuant to ERISA § 402(a), 29 U.S.C. § 1102(a).
            66.   During the Class Period, the Plan Document set forth the following
“Named Fiduciaries”:          The Trustee, the Benefits Administration Committee, the
Compensation Committee, and the Investment Committee.
            67.   De Facto Fiduciaries.      ERISA treats as fiduciaries not only persons
explicitly named as fiduciaries under § 402(a), but also any other persons who in fact
perform fiduciary functions. Thus, a person is a fiduciary to the extent: “(i) he exercises
any discretionary authority or discretionary control respecting management of such Plan
or exercises any authority or control respecting management or disposition of its assets,
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(ii) he renders investment advice for a fee or other compensation, direct or indirect, with
respect to any moneys or other property of such Plan, or has any authority or
responsibility to do so, or (iii) he has any discretionary authority or discretionary
responsibility in the administration of such Plan.” ERISA § 3(21)(A)(i), 29 U.S.C. §
1002(21)(A)(i).
            68.   Each of the Defendants, with the sole exception of Defendant U.S.
Bancorp, was a fiduciary with respect to the Plan and owed fiduciary duties to the Plan
and its participants in the manner and to the extent set forth in the Plan documents,
through their conduct, and under ERISA.

A.          The Fiduciary Status of the Compensation Committee Defendants

            69.   Pursuant to the operative Plan Document, during the Class Period, the
Compensation Committee Defendants were responsible for (i) determining the types of
investments in which the Fund is to be invested (i.e., equity versus bond), (ii) determining
the allocation of the Fund to invest in each type of investment (i.e., 80% equity and 20%
bond), (iii) selecting, monitoring and terminating the individual investments, (iv)
selecting or establishing, monitoring, and terminating individual separate accounts for
investment, (v) selecting, monitoring and terminating investment advisors, and (vi)
selecting, monitoring and terminating the Trustee. The Compensation Committee may
hire an investment advisor … to monitor the performance of investments and report to the
Investment Committee and Compensation Committee.
            70.   Throughout the Class Period, the Compensation Committee and the
Compensation Committee Defendants were responsible on an ongoing basis for
evaluating the suitability of the 100% Equities Strategy for the Plan, as well as evaluating
Plan objectives, funding policies, and investment policies.




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            71.   At all relevant times, the Compensation Committee also had the power to
select, monitor, and terminate the Plan Trustee, as well as the authority to select, monitor,
and terminate investment advisors to the Plan, including FAF Advisors.
            72.   The Compensation Committee Defendants met multiple times a year
throughout the Class Period to review and set the investment allocation for the Plan’s
assets.
            73.   In light of the foregoing duties, responsibilities, and actions, the
Compensation Committee Defendants were named fiduciaries of the Plan pursuant to
ERISA § 402(a), 29 U.S.C. § 1102(a), as well as de facto fiduciaries within the meaning
of ERISA § 3(21), 29 U.S.C. § 1002(21), in that each exercised discretionary authority or
discretionary control with respect to management of the Plan and exercised authority or
control with respect to management or disposition of the Plan’s assets.

B.          The Fiduciary Status of the Investment Committee Defendants

            74.   Pursuant to the operative Plan Document, during the Class Period, the
Investment Committee Defendants were responsible for (i) determining the amount of
allocation of the Fund in an investment type (i.e., equity) to be invested in a targeted area
within the investment type (i.e., large cap equity, small cap equity, international); (ii)
determining the allocation in a targeted area to be invested in an individual investment or
separate account (chosen from the individual investments and separate accounts selected
or established by the Compensation Committee for that type of investment); and (iii)
monitoring the performance of investments. On information and belief, the Investment
Committee was responsible for approving and monitoring the performance of any
investment advisors of the Plan.
            75.   In light of the foregoing duties, responsibilities, and actions, the Investment
Committee Defendants (named as John and Jane Doe 11-20) are named fiduciaries of the
Plan pursuant to ERISA § 402(a), 29 U.S.C. § 1102(a), as well as de facto fiduciaries

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within the meaning of ERISA § 3(21), 29 U.S.C. § 1002(21), in that each exercised
discretionary authority or discretionary control with respect to management of the Plan
and exercised authority or control with respect to management or disposition of the
Plan’s assets.

C.          The Fiduciary Status of FAF Advisors

            76.   On information and belief, at all relevant times, the Compensation
Committee had the power to appoint one or more investment advisors to manage all or a
portion of the Trust Fund and to direct the Trustee with respect to the investment and
reinvestment of assets.
            77.   The Compensation Committee appointed FAF Advisors to serve as the
Investment Manager to the Plan throughout the Class Period. Pursuant to an Investment
Management Agreement (“IMA”) executed in 2007 and an attached Investment Policy
Statement, FAF Advisors had “full discretionary authority” to supervise and direct the
investment and reinvestment of the assets of the Plan in compliance with the limitations
and requirements of ERISA.
            78.   In the IMA, FAF Advisors represents and warrants that it is registered as an
Investment Adviser under the Investment Advisers Act of 1940; that it is a “fiduciary” of
the Trust (which holds the assets of the Plan) as defined in Section 3(21) of ERISA and
therefore is an “investment manager” of the Trust as defined in Section 3(38) of ERISA
and; and that FAF advisors currently maintains fidelity bond coverage.
            79.   In the IMA, the Compensation Committee represents and warrants that it is
a “named fiduciary” with respect to the control or management of the assets in the Trust
with authority to appoint other fiduciaries to exercise investment discretion with respect
to the Plan’s assets in the Trust but that the Compensation Committee has appointed no
other investment manager other than FAF Advisors.



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            80.   Beginning sometime in 2007, FAF Advisors managed all of the Plan’s
investments including the approximately $1.25 billion of Plan assets which FAF Advisors
invested in its own proprietary mutual funds.
            81.   In addition, FAF Advisors acted as the Plan’s securities lending agent
pursuant to a contractual agreement whereby the Plan loaned certain securities to
qualified borrowers in exchange for collateral. FAF Advisors was then responsible for
re-investing this collateral on behalf of the Plan in order to generate investment fee
income which FAF Advisors then shared with the Plan.
            82.   In light of the foregoing duties, responsibilities, and actions, FAF Advisors
acted as a de facto fiduciary within the meaning of ERISA § 3(21), 29 U.S.C. § 1002(21),
in that it exercised discretionary authority or discretionary control with respect to
management of the Plan and exercised authority or control with respect to management
or disposition of the Plan’s assets.
            83.   In or around December 2010, Defendant U.S. Bank, N.A. sold FAF
Advisors to Defendant Nuveen Asset Management, LLC.

D.          The Fiduciary Status of U.S. Bank, N.A.

            84.   Throughout the Class Period, Defendant U.S. Bank, N.A. was the Trustee
for the Plan.
            85.   From at least 2007 to 2010, all of the assets of the Plan were held in trust in
the Trust Fund by U.S. Bank, N.A., pursuant to the Pension Plan Trust Agreement
entered into between U.S. Bancorp and U.S. Bank, N.A.
            86.   As Trustee of the Plan, U.S. Bank, N.A. had the authority to control,
mange, invest, and reinvest the Trust Fund and possessed all powers, rights, and
discretions generally possessed by trustees, including the power to institute legal
proceedings on behalf of the Plan or the Trust Fund.



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            87.   As the Trustee, Defendant U.S. Bank, N.A. is a named fiduciary of the Plan
pursuant to ERISA § 402(a), 29 U.S.C. § 1102(a), as well as de facto fiduciary within the
meaning of ERISA § 3(21), 29 U.S.C. § 1002(21), in that it exercised discretionary
authority or discretionary control with respect to management of the Plan and exercised
authority or control with respect to management or disposition of the Plan’s assets held in
the Trust Fund.

E.          The Fiduciary Status of the Board of Director Defendants

            88.   According to the U.S. Bancorp Corporate Governance Guidelines, the U.S.
Bancorp Board of Directors is empowered to select, appoint, and remove the members of
the Compensation Committee, which held significant responsibilities with respect to the
investment of the assets of the Plan. Upon information and belief, during the Class
Period, some or all of the Compensation Committee Defendants were selected, approved,
appointed and/or subject to being monitored and replaced by the U.S. Bancorp Board of
Directors.
            89.   Upon information and belief, the U.S. Bancorp Board of Directors is also
empowered to select, appoint, and remove the members of the Investment Committee,
which held significant responsibilities with respect to the investment of the assets of the
Plan. Upon information and belief, during the Class Period, some or all of the Investment
Committee Defendants were selected, approved, appointed and/or subject to being
monitored and replaced by the U.S. Bancorp Board of Directors
            90.   In light of the foregoing duties, responsibilities, and actions, the Board of
Director Defendants are de facto fiduciaries within the meaning of ERISA § 3(21), 29
U.S.C. § 1002(21), in that they exercised discretionary authority or discretionary control
with respect to management of the Plan and exercised authority or control with respect to
management or disposition of the Plan’s assets, through the Compensation Committee,
and/or the Investment Committee.

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                            VI.      FACTUAL ALLEGATIONS
A.          The Compensation Committee Defendants and the Investment Committee
            Defendants Maintained and/or Permitted the Plan to Maintain an Imprudent,
            Undiversified and Disloyal 100% Equities Strategy

            91.   By 2004, effectively 100% of the Plan’s assets were invested in equities.
            92.   During the Class Period, the Compensation Committee became responsible
for determining the allocation among asset classes of the Plan portfolio (e.g. equities
versus bonds); for monitoring the individual investments of the Plan; and for monitoring
the Investment Committee, the investment advisors for the Plan, and the Plan’s
Investment Manager, FAF Advisors.
            93.   Sometime in 2007, the Compensation Committee entered into an IMA
whereby it appointed FAF Advisors to serve as the Investment Manager for the Plan, and
therein delegated to FAF Advisors discretionary investment authority with respect to the
Plan’s assets.
            94.   The IMA is undated, though it appears to indicate that it was intended to be
executed sometime in 2007.
            95.   By sometime in 2007, the Plan’s entire portfolio was managed by FAF
Advisors, the appointed Investment Manager.
            96.   Throughout the Class Period, and despite the severe increase in volatility in
the equities market and the significant increase in correlation among all stocks during the
first half of 2008 (as discussed below), the Compensation Committee Defendants and the
Investment Committee Defendants, on information and belief, failed to conduct an
adequate independent review of the prudence and diversification of the existing 100%
Equities Strategy, the individual investments of the Plan, or the adequacy of FAF
Advisors’ management of the Plan’s assets. Instead of exercising their own independent
judgment regarding the prudence and diversification of the Plan’s 100% Equities Strategy
and the adequacy of FAF Advisors’ investment management decisions, the
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Compensation Committee and the Investment Committee Defendants ignored the
significant increase in volatility in the equities market and the increased correlation
among all stocks, which exposed the Plan to unnecessary risk, and continued to permit or
direct FAF Advisors to pursue the existing imprudent and non-diversified 100% Equities
Strategy.
            97.    By comparison, the average asset allocation for the top 100 defined benefit
plans at year-end 2007 was: 59% equities, 30% fixed income/debt securities, 1% cash,
3% real estate and 7% other asset classes. In fact, as U.S. Bancorp itself disclosed in its
2007 Annual Report, a typical investment allocation for a pension plan would devote
approximately 62% to equities and include substantial investments (32%) in debt
securities. Such diversification across asset classes reduces risk and uncertainty because,
historically, different asset classes have not moved up or down at the same time.
            98.    Proper diversification among asset classes is paramount within the prudent
management of portfolios as required by ERISA § 404(a)(1)(B) and is also specifically
mandated by ERISA § 404(a)(1)(C).
            99.    Generally, there are several levels of diversification necessary to fulfill the
requirements of ERISA §§ 404(a)(1)(B) and (C). The most important and meaningful
type of diversification is among different asset classes (e.g. equities, fixed income or
bonds, cash, real estate and other types of investments).
            100.   Despite these facts, year after year from 2007 to 2010, the Compensation
Committee and the Investment Committee Defendants failed to adequately monitor the
Plan’s investments and failed to select a prudent and diversified investment allocation
that included investments that protected the Plan’s principal.             Year after year, the
Committee Defendants made the imprudent decision to continue to invest virtually 100%
of the Plan’s assets in equities.
            101.   The failure to reevaluate the 100% equities allocation despite the severe
change in the equities market (discussed below) and the failure to include any other asset
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classes (such as bonds/fixed income or real estate) was contrary to the Committee
Defendants’ obligation to prudently and loyally manage the assets of the Plan and to
diversify the investments of the Plan to avoid the risk of large losses.

B.          Defendants’ Profits from the Excessively Risky 100% Equities Strategy

            102.   The excessively risky 100% Equities Strategy was not solely in the best
interests of the participants and beneficiaries of the Plan, but primarily, if not exclusively,
used to generate excess pension income which benefitted U.S. Bancorp (and its Board
members) by allowing the Company to increase its operating income with the excess
income generated by the Plan and by avoiding minimum employer contributions.
            103.   As U.S. Bancorp recognized in its 2004 Annual Report:

            Based on an analysis of historical performance by asset class, over any 20-
            year period since the mid-1940s, investments in equities have outperformed
            other investment classes but are subject to higher volatility. While an asset
            allocation including bonds and other assets generally has lower volatility
            and may provide protection in a declining interest rate environment, it
            limits the pension plan’s long-term up-side potential. Given the pension
            plans’ investment horizon and the financial viability of [U.S. Bancorp] to
            meet its funding objectives, the [Compensation] Committee has determined
            that an asset allocation strategy investing in 100 percent equities diversified
            among various domestic equity categories and international equities is
            appropriate.
            104.   The Committee Defendants maintained the excessively risky 100% Equities
Strategy, despite their ongoing duty to monitor the Plan’s investments and their duty to
diversify the Plan’s portfolio, in order to justify U.S. Bancorp’s inordinately high
assumed rate of return on Plan assets of 8.5 – 9.5%, which is 0.6 – 1.6% higher than the
long-term rate of return expected from a “typical” diversified asset mix.
            105.   Justifying a very high assumed rate of return for its pension plan assets
directly benefited U.S. Bancorp because a higher assumed rate of return for its pension
assets automatically lowers the Company’s pension costs and boosts the company’s

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reported income. The creation of significant amounts of pension income through the
aggressive 100% Equities Strategy improves the Company’s bottom line because
accounting rules permit companies to include the assumed returns from pension fund
investments in their income statements. This gives companies a great deal of control
over the amount of assumed pension income – and thus control over the corporate bottom
line.
            106.   An empirical study by Daniel Bergstresser, Mihir Desai, and Joshua Rauh,
“Earnings Manipulation, Pension Assumptions And Managerial Investment Decisions”
(2005), demonstrates that companies will opportunistically boost their pension plans’
estimated returns prior to certain events, including critical earnings thresholds, acquiring
other firms, issuing equity, and exercising stock options.
            107.   Another study, by Coronado and Sharpe (2003), illustrates how senior
managers can use pension accounting to boost reported corporate profits, which can
influence stock prices. The study finds that the valuation that the market places on
pension assumptions are at least as high as, if not higher than, the value it places on core
earnings, in spite of the often arbitrary nature of these pension assumptions and the
transitory nature of their impact on reported income.            One implication of this
phenomenon “is that the stocks of a number of S&P 500 companies that sponsor [defined
benefit] pension plans were substantially overvalued in recent years.”          Julia Lynn
Coronado & Steven A. Sharpe, Did Pension Plan Accounting Contribute to a Stock
Market Bubble? (Federal Reserve Board of Governors, FEDS Working Paper No. 2003-
38, 2003).
            108.   On information and belief, U.S. Bancorp used the excessively risky 100%
Equities Strategy to boost the Company’s income through high assumed pension returns.
Thus, the “up-side potential” of investing in “higher volatility” asset classes primarily
inured to the benefit of U.S. Bancorp’s Directors and senior executives while the risk was
borne chiefly by the Plan and its participants.
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            109.   U.S. Bancorp also benefitted from the unreasonably risky asset allocation
and its corresponding higher rate of return in that the Company was not required by
ERISA to make, and did not make, any contributions to the Plan between 2004 and 2011.
Yet the Plan had no reason, aside from chasing corporate profits, to pursue higher returns
by adopting the risky investment strategy of allocating 100% of its assets to equity
investments. By 2007, the Plan was significantly overfunded and did not need the
additional income that the risky 100% Equities Strategy was intended to produce.
            110.   In addition, the Company received management fees from the Plan’s
investments in FAF Advisors’ mutual funds and from payments by the Plan to FAF
Advisors in connection with the Securities Lending Program.
            111.   Because the Company benefitted from the 100% Equities Strategy, the
fiduciaries of the Plan failed to re-evaluate such strategy and diversify the Plan, even
after correlation among all stocks increased and the volatility in the equities market
doubled—meaning that uncertainty in the equities market had increased four-fold—
during the first half of 2008 (as described below).

            1.     The Compensation Committee and Board of Director Defendants
                   Received Ill-Gotten Profits through the Sale of Stock Options

            112.   The compensation of members of the Board of Directors (including
Compensation Committee Defendants) and senior executives of U.S. Bancorp is
determined by and based, in part, on the profitability of the Company. In addition, many
Directors and senior executives have stock options and several Defendants exercised and
sold their stock options at a hefty profit during the Class Period.
            113.   The risky 100% Equities Strategy allowed the Company to use an
accounting mechanism to create excess pension income for the Company, which
improved its reported earnings per share. The Company’s financial statements to
investors are based on the assumed rate of return on the Plan’s assets, not the actual


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investment performance of the Plan in a particular year. Thus, the Company can report
pension income in its financial statements based on its unnecessarily high assumed rate of
return in a year when the Plan lost hundreds of millions of dollars. The fiduciaries of the
Plan are thereby able to use the high assumed rate of return to improve the financial
outlook of the Company at particular points in time that benefit them and the Company.
            114.   On information and belief, several members of the Compensation
Committee and the Board of Directors did execute and sell Company stock options at
higher prices because U.S. Bancorp’s reported income (and thus its stock price) was
increased by the excess pension income.
            115.   The Compensation Committee Defendants who personally benefited from
the excess pension income generated by the excessively risky 100% Equities Strategy
include:
            116.   Defendant Coors, who exercised and sold approximately $123,967 worth of
U.S. Bancorp stock options since October 1, 2007.
            117.   Defendant Collins, who exercised and sold approximately $2.5 million
worth of U.S. Bancorp stock options since October 1, 2007.
            118.   Defendant Gluckman, who exercised and sold approximately $6 million
worth of U.S. Bancorp stock options since October 1, 2007.
            119.   Defendant Levin, who exercised and sold approximately $6 million worth
of U.S. Bancorp stock options since October 1, 2007.
            120.   Defendant Stokes, who exercised and sold approximately $1.75 million
worth of U.S. Bancorp stock options since October 1, 2007.
            121.   Defendants Coors, Collins, Gluckman, Levin, and Stokes, all of whom are
on the Compensation Committee, made the decision to allow and/or maintain a risky and
undiversified Investment Policy that chased excess pension income rather than one that
minimized the risk of loss to the Plan’s assets.


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            122.   The Board of Director Defendants who personally benefited from the
excess pension income generated by the excessively risky 100% Equities Strategy
include:
            123.   Defendant Davis, who exercised and sold approximately $67.4 million
worth of U.S. Bancorp stock options since October 1, 2007.
            124.   Defendant Reiten, who exercised and sold approximately $821,479 worth
of U.S. Bancorp stock options since October 1, 2007.
            125.   Defendant Johnson, who exercised and sold approximately $1.6 million
worth of U.S. Bancorp stock options since October 1, 2007.
            126.   Defendant Schnuck, who exercised and sold approximately $1.7 million
worth of U.S. Bancorp stock options since October 1, 2007.
            127.   Defendant Owens, who exercised and sold approximately $1.5 million
worth of U.S. Bancorp stock options since October 1, 2007.
            128.   Defendants Davis, Reiten, Johnson, Schnuck, and Owens, all of whom are
members of the Board of Directors, caused the Plan to allow and/or maintain a risky and
undiversified Investment Policy that chased excess pension income rather than one that
minimized the risk of loss to the Plan’s assets.
            129.   The several breaches of fiduciary duty and self-dealing committed by the
Compensation Committee Defendants and Board of Director Defendants allowed several
individual Defendants to profit from the sale of their stock options at higher prices due, at
least in part, to the boost in stock price from excess pension income.
            130.   Moreover, because the above fiduciaries directly benefitted from the 100%
Equities Strategy, they failed to re-evaluate such strategy and diversify the Plan, even
after correlation among all stocks was increasing and the volatility in the equities market
doubled—meaning that uncertainty in the equities market had increased four-fold—
during the first half of 2008, as discussed further below.


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            2.     The 100% Equities Strategy Benefitted U.S. Bank Subsidiary FAF
                   Advisors

            131.   In addition, by continuing to pursue the existing 100% Equities Strategy,
the Compensation Committee and the Investment Committee failed in their obligations to
act solely in the interest of the Plan and for the exclusive purpose of providing benefits to
the Plan and its participants and defraying reasonable Plan expenses. Because of the
Company’s interest in propping up the business of its subsidiary, FAF Advisors, the
Compensation Committee and the Investment Committee placed the interest of FAF
Advisors, which significantly benefitted from the 100% Equities Strategy, ahead of the
Plan participants’ interest.
            132.   By 2007, FAF Advisors invested over 40% of the Plan’s assets in its own
mutual funds, First American Funds, Inc. (the “FAF Mutual Funds”). The Plan’s Form
5500 filed with the Department of Labor reported that, in 2007, over $1.2 billion of the
Plan’s nearly $2.8 billion in assets were invested in FAF Mutual Funds, whose
underlying investments consisted of equities. Virtually all of the remaining assets of the
Plan were invested in equities, as nearly 55% of the portfolio consisted of corporate stock
holdings according to the Plan’s 2007 Form 5500.
            133.   During 2007, FAF Advisors purchased over 4 million shares of its own
FAF Mutual Funds, worth approximately $67.3 million.
            134.   During 2008, FAF Advisors purchased approximately 630,000 shares of its
own FAF Mutual Funds, worth approximately $8.5 million.
            135.   Because FAF Advisors was both a fiduciary of the Plan in its capacity as
Investment Manager and the investment advisor of the underlying FAF Mutual Funds in
which it invested the Plan’s assets, FAF Advisors was acting on both sides of all
transactions where the Plan invested or redeemed its interest in the FAF Mutual Funds.
            136.   In addition to the inherent conflicts in FAF’s management of Plan assets
generally, the specific investment of the Plan’s assets in non-money market mutual funds

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managed by FAF Advisors also violated the Investment Guidelines contained within the
Plan’s Investment Policy and the IMA.
            137.   The Investment Guidelines at page 7 of the Investment Policy specifically
list “Securities of the investment manager, their parent or subsidiary companies
(excluding money market funds) or any other security that could be considered a self-
dealing transaction” as “Excluded Investments.” Accordingly, the FAF non-money
market mutual funds were not allowed investments for the Plan.
            138.   In addition, FAF Advisors’ IMA only authorizes the investment of the
Plan’s assets in affiliated funds “to the extent such investment is consistent with the
Investment Policy.” However, because the FAF non-money market mutual funds are not
allowed by the Investment Policy, they are not permitted by an instrument under which
the Plan is maintained.
            139.   Exhibit B to the IMA states “[FAF Advisors] and the Compensation
Committee agree that [FAF] has up to 30 days from the effective date of this Agreement
to fully invest the [Plan’s assets] according to the Investment Policy.” Thus, 30 days
after the execution of the IMA in 2007, the following investments violated the IMA and
the Investment Policy: First American International Growth, First American Mid-Cap
Growth Oppys Fund, First American Mid Cap Index Fund, First American Mid Cap
Value Fund, First American Real Estate Securities Fund, First American Small Cap
Growth Oppy Securities Fund, First American Small Cap Select Fund, and First
American Small Cap Value.
            140.   As a result of the above investments, FAF Advisors was able to
significantly increase the assets under the management of its own mutual funds, thus
making them more attractive to other investors. Thus, FAF Advisors benefitted not only
from the mutual fund fees paid by the Plan, but from the fees paid by other investors who
would not have invested in the FAF mutual funds had the Plan not devoted $1.2 billion of
its assets to FAF’s mutual funds.
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            141.   All asset transfers from the Plan to FAF Advisors in the form of fees
constituted prohibited transactions under ERISA §§ 406(a) and 406(b). FAF Advisors
also benefited from the 100% Equities Strategy because it created a large pool of
securities which it was able to use for its in-house SLP.
            142.   Despite the fact that the Plan reported that it was overfunded by more than
$850 million at the end of 2007, the Committee Defendants, the Board of Directors
Defendants, and U.S. Bank, N.A., because of their many conflicts of interest, failed to
conduct an independent review of the Plan’s allocation even in the face of dramatically
changing stock market conditions; failed to maintain a prudent, loyal, and diversified
investment allocation; and failed to monitor FAF Advisors’ management of the Plan.
            143.   By continuing to pursue the 100% Equities Strategy even as the sharp
increase in volatility of the equities market and the significant increase in correlation
among all stocks exposed the Plan to even greater unnecessary risk of loss, the
Committee Defendants, the Board of Directors Defendants, and U.S. Bank, N.A.
permitted, and FAF Advisors caused, the Plan to engage in multiple transactions between
2007 and 2011 involving the purchase, sale and exchange of hundreds of millions of
dollars in equity securities and/or FAF Mutual Funds backed by equities.
            144.   Thus, following their appointment, the Committee Defendants kept the Plan
assets and the management thereof within the control of FAF Advisors and other persons
or entities within U.S. Bancorp, thereby allowing each person and entity to earn
significant management and administrative fees from the Plan or to benefit in other ways
from the imprudent and non-diversified 100% Equities Strategy.
            145.   Not until 2011, after U.S. Bank, N.A. sold its subsidiary, FAF Advisors, to
Defendant Nuveen Asset Management, LLC, did the Plan meaningfully begin to
diversify into asset classes other than equities. By year end 2011, the Plan had a 10%
allocation to debt/fixed income and a 5% allocation to real estate, which reduced the
equity allocation to 85%. By year end 2012, the Plan had a 20% allocation to debt/fixed
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income and a 5% allocation to real estate, which further reduced the equity allocation to
75%.
            146.   At the end of 2009, the Plan continued to have nearly $1 billion of its assets
invested in FAF Mutual Funds, whose underlying investments consisted of equities.
After FAF Advisors was sold to Defendant Nuveen Asset Management, LLC in
December 2010, the Plan disposed of all of its investments in FAF Mutual Funds that
were backed by equities and invested those assets in a more diversified portfolio of stocks
and bonds.

C.          Dramatic Changes in the Equities Markets Occur From Late 2007 to Mid-
            2008

            147.   The Financial Crisis Inquiry Commission (“FCIC”) was created to examine
the causes of the financial and economic crisis in the United States and the FCIC issued a
comprehensive report on the crisis in January 2011 (the “Financial Crisis Report”).
            148.   The Financial Crisis Report summarized the crisis as follows:

            Panic fanned by a lack of transparency of the balance sheets of major
            financial institutions, coupled with a tangle of interconnections among
            institutions perceived to be “too big to fail,” caused the credit markets to
            seize up. Trading ground to a halt. The stock market plummeted. The
            economy plunged into a deep recession.
Financial Crisis Report at xvi.
            149.   “At the beginning of 2008, the stock market had fallen almost 15% from its
peak in the fall of 2007.” Financial Crisis Report at 292. In addition, the equities market
were becoming much more volatile and stocks more correlated than they had been in
2004 when the Plan embarked upon its 100% Equities Strategy.

Volatility in the Equities market Increased Dramatically Starting in Late
2007
            150.   From 2004, when the 100% Equities Strategy was adopted, through June
2007, the volatility in the equities market was relatively constant. The graph below

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depicts two measures of volatility: “Historical Volatility” and “VIX.” The first metric,
Historical Volatility, which is shown by the solid line, is a measure of volatility in the
market based on actual returns of the S&P 500. The second metric, shown by the dotted
line, is the VIX, an index which measures the implied volatility in the options market
and, as such, is a forecast of the volatility in the market. Volatility is an industry-
standard statistical metric that measures the expected amount of uncertainty in the market
in the following 12 months. As an example, if the volatility is 15%, then stock returns,
over the next 12 months, are expected to be within the range of -15% to +15% with a
statistical likelihood of approximately 66%.
            151.   The Historical Volatility metric (solid line) shows that the level of volatility
in the equities market remained relatively constant from January of 2004 until June of
2007, in the 10%-15% range. However, by early 2008, as the financial crisis deepened,
volatility in the equities market had risen to nearly 30%. This increase in volatility in the
equities market was particularly significant because volatility, like the Richter Scale, is a
non-linear statistical measure, meaning that doubling of the metric from 15% to 30%
actually represented a four-fold increase in the uncertainty of the market. Such a drastic
increase signaled greater investor and market uncertainty and was indicative of extreme
volatility in the equities market. Similarly, another measure of volatility, the VIX (dotted
line) remained in the 10-22% range from the beginning of 2004 until June 2007. From
June of 2007 until the spring of 2008, the VIX also climbed dramatically, to over 30%.




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            152.   Another way to measure increased volatility in the equities market is to
examine the frequency of occurrences of extreme market movements. The chart below
depicts, on a lagging basis, the percentage of days between 2004 and 2008 that the
market experienced a movement of more than 2% up or down in a given day. As
illustrated, on both a trailing 3-month and 6-month basis, the likelihood of a 2%
movement in a given day was virtually non-existent until mid-2007, at which time the
likelihood of a 2% movement began to increase steadily.


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            153.   The increase in the frequency of extreme movements in the equities market
from mid-2007 to mid-2008 signaled greater volatility in the equities market and
indicated that the Plan’s continued pursuit of its investment strategy exposed the Plan’s
investments to an even greater risk of loss than in 2004, when the 100% Equities Strategy
was initiated.
            154.   Throughout late 2007 and early 2008, major U.S. business news outlets
were reporting on the increased volatility in the equities market and noting that market
volatility was “near its highest level in five years” (from a New York Times article).
            155.   In fact, a senior index analyst at the S&P 500, commenting on the unusual
volatility in the market, compared the equities market to a person with “multiple-
personality disorder” in a March 2008 New York Times article.
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            156.   The dramatic increase in volatility was the result of heightened market
uncertainty along with an increase in the average correlation among all stocks, as
discussed below.

Correlation Among All stocks Also Increased in the Equities market Starting
in Late 2007
            157.   The Plan’s portfolio became significantly more correlated (and thus non-
diversified) beginning in late 2007. Average correlation is a relevant metric that
measures movements between pairs of individual stocks in the equities market.
Generally, not all stocks will move in the same direction at any given time; some will
appreciate while others depreciate. The tendency of stocks to move pair-wise in less than
perfect step with each other is measured by a statistic called correlation. Correlation is a
value between –1.0 and 1.0. A value of 1.0 indicates perfect co-movement, while –1.0
indicates one stock moves down while the other moves up. When the average correlation
between all pairs of stocks increases, the volatility in the stock market as a whole
increases.
            158.   Academic journals have long recognized “that international correlation
[among equities] is much higher in periods of volatile markets[].” François Longin and
Bruno Solnik, “Extreme Correlation of International Equities market,” The Journal of
Finance, Vol. 56, No. 2, 649–76 (April 2001). Indeed while it is considered “accepted
wisdom among practitioners and the financial press” that correlation among equities is
much higher during volatile equities market, several researchers in finance have further
concluded that “correlation is not related to market volatility per se but to the market
trend. Correlation increases in bear markets, but not in bull markets.” Id.
            159.   Prior to every market crash, average correlation increased significantly,
which, in turn, resulted in greater volatility in the equities market. Indeed, researchers
have concluded, “Using data on international stock market index returns, we found
evidence of increasing correlation in the tails, indicating contagion between financial
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markets for more extreme market movements. . . . The implications for portfolio
allocation and risk management are serious because the benefits of diversification [within
the equities asset class] are partly eroded when they are needed most.” Rachel Campbell,
Kees Koedijk, and Paul Kofman, “Increased Correlation in Bear Markets” Financial
Analysts Journal, Vol. 58, No. 1 93 (Jan.- Feb. 2002); see also Andrew Ang and Geert
Bekaert, “How Do Regimes Affect Asset Allocation?” NBER Working Paper No. 10080
(November 2003) (“International equity returns are more highly correlated with each
other in bear markets than in normal times. . . . Importantly, in the bear market regime,
the correlations between various returns are higher than in the normal regime.”).
            160.   Thus, it is not surprising that the correlation among stocks in the S&P 500
increased significantly between the end of 2007 and mid-2008. See data for CBOE S&P
500® Implied Correlation Index between October 2007 and June 2008.
            161.   Similarly, the correlation among stocks around the world increased by the
end of 2007, as reported by large newspapers such as the New York Times.
            162.   Because of the significant increase in correlation among domestic and
international stocks within the Plan’s portfolio, the Plan became even less diversified
between the end of 2007 and mid-2008 than 2004, when the 100% Equities Strategy was
first implemented.
            163.   In sum, between the last quarter of 2007 and mid-2008, the financial crisis
deepened and various financial indicators signaled weakness and increasing risk in the
equities market, including, but not limited to, the increase in volatility and average
correlation in the global equities market.
            164.   In the face of the significant increase in correlation among stocks in the
domestic and international equities market, the fiduciaries of the Plan should have moved
a significant portion of the Plan’s assets into cash, treasury bills and/or bonds in order to
meet their obligations under ERISA §§ 404(a)(1)(A), (B) and (C).


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            165.   In light of the changing circumstances alleged above, a prudent fiduciary
would have, at a minimum, reevaluated the 100% Equities Strategy between late 2007
and mid-2008. Yet as the financial crisis unfolded, on information and belief, the
Compensation Committee and the Investment Committee Defendants failed to adequately
monitor and reevaluate the 100% Equities Strategy to determine whether, under the
circumstances then prevailing, this strategy continued to be in the best interest of the Plan
and its participants and beneficiaries. The Committee Defendants also failed to maintain
a prudent, loyal, and diversified allocation for the Plan’s assets.
            166.   Alternatively, if the Committee Defendants did reevaluate the 100%
Equities Strategy and/or the investments of the Plan as a whole after October 2007, they
re-adopted the 100% Equities Strategy was imprudent, disloyal, and non-diversified for
the reasons set forth above.

D.          The 100% Equities Strategy Resulted in Substantial Losses to the Plan and
            Resulted in the Plan Becoming Underfunded

            167.   The decision of the Compensation Committee Defendants and the
Investment Committee Defendants to maintain the Plan’s imprudent and undiversified
100% Equities Strategy caused the Plan to lose $1.1 billion in 2008. The net assets
available to pay benefits, reported in the 2008 Form 5500, fell from $2.8 billion to less
than $1.7 billion in 2008, thereby significantly increasing the risk of default of the Plan.
            168.   Had the Committee Defendants not maintained the Plan’s imprudent and
undiversified 100% Equities Strategy, particularly in the face of a growing financial and
economic turmoil and the sharp increase in volatility and risk in the equities market, but
instead moved a significant portion of the Plan’s assets into other, less risky asset classes,
such as cash, treasury bills and/or bonds, they could have properly diversified the Plan’s
assets and protected against the growing volatility and uncertainty in the equities market.
For example, had the Committee Defendants changed the Plan’s asset allocation to the
typical allocation mix adhered to by other pension plans, as described in U.S. Bancorp’s
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2007 Annual Report (which limits equities to 62% and includes 32% debt securities), the
Plan would have avoided at least $748 million of the losses the Plan suffered in 2008.
            169.   As a result of that $1.1 billion loss, the funding status of the Plan fell
sharply, from being significantly overfunded in 2007 to significantly underfunded
thereafter.
            170. In 2009, the Company admitted that the Plan was underfunded as a result of
the significant losses it incurred in 2008. On September 4, 2009, Plaintiff Thole received
a copy of a “Feedback Notification” responding to a request by an employee that U.S.
Bank comment on the health of the Plan. The Human Resources Division of U.S. Bank
advised the employee in the Feedback Notification as follows:

            The U.S. Bank pension plan is well funded and plan assets have exceeded the
            actuarial value of the plan liabilities in the past several years. However, with the
            significant declines in the equities market, during 2008 the value of the plan assets
            dropped below the plan liabilities. (emphasis added)
            171.   According to the Funding Notice U.S. Bancorp provided to Plan
participants in April 2012, the Plan was underfunded by $248 million (84.44% funded) as
of January 1, 2009; the Plan was underfunded by $366 million (81.91% funded) as of
January 1, 2010; and the Plan was underfunded by $436 million (80% funded) as of
January 1, 2011.
            172.   According to the Funding Notices, the fair market value of the Plan’s assets
and liabilities at year-end 2011 and year-end 2012 were as follows:


                                 December 31, 2011               December 31, 2012

        Plan Assets:             $2,062,581,669                  $2,332,436,540

        Plan Liabilities:        $2,816,228,598                  $3,360,188,897




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            173.   Even on an Adjusted Funding Target Attainment Percentage (AFTAP)
basis, the Plan was only 80% funded by the end of 2010 and has remained at 80% funded
status until the time this lawsuit was filed.

E.          FAF Advisors’ Management of the Plan’s Securities Lending Portfolio was
            Imprudent and Fraudulent

            174.   Beginning in 2005 and continuing until 2010, the Plan also participated in
FAF Advisors’ SLP, under which FAF Advisors acted as both the lending agent for the
Plan as well as the administrator of the SLP.
            175.   Pursuant to a contractual arrangement entered into between the Plan and
FAF Advisors effective October 2005 (the “SLP Agreement”), FAF Advisors temporarily
loaned securities owned by the Plan to borrowers on a short-term basis. In exchange for
the loans of the Plan’s securities, the Plan received cash collateral which FAF Advisors
was then obligated to invest prudently. The income derived from the investment of the
cash collateral was shared between FAF Advisors and the Plan, and purportedly provided
a means by which the Plan could earn an incrementally higher return on the corporate
securities in which FAF Advisors, as the Plan’s Investment Manager, had invested the
Plan’s assets.
            176.   FAF Advisors was bound both by a fiduciary duty and a contractual
obligation to select sound investments for the Plan’s assets. On information and belief,
the SLP Agreement required FAF Advisors to invest the cash collateral the Plan received
from securities borrowers in the SLP in only conservative, high quality, and low risk
investments that were highly liquid. Additionally, FAF Advisors’ role as an ERISA
fiduciary required it to strictly control the risks associated with the Plan’s overall
investments.
            177.   On information and belief, despite the fact that the Compensation
Committee Defendants were expressly charged with the obligation to monitor the

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investment strategies, activity, and performance of FAF Advisors, they never did so with
respect to FAF Advisors’ reinvestment of the Plan’s cash collateral in the SLP.
            178.   Emil C. Busse, Jr. was the head of securities lending for FAF Advisors
from the start of the Class Period until June of 2008. In that capacity, Mr. Busse
managed two portfolios, the Mount Vernon Securities Lending Short-Term Bond
Portfolio (the “Mount Vernon Bond Portfolio”) and the Mount Vernon Securities
Lending Prime Portfolio (the “Mount Vernon Prime Portfolio”) (collectively the “Mount
Vernon Portfolios”). The Mount Vernon Portfolios were available for investment by
FAF Advisors’ SLP clients and contained funds received exclusively from collateral
given in exchange for loans of securities made by SLP customers, including the Plan.
            179.   By December 2007, FAF Advisors, in its capacity as the administrator of
the SLP, had directed the Plan to invest $504 million of the Plan’s collateral in the Mount
Vernon Portfolios managed by Mr. Busse and FAF Advisors.
            180.   The Mount Vernon Prime Portfolio operated as a money market fund
within the meaning of Rule 2a-7 under the Investment Company Act. As such, FAF was
required to manage the fund in order to maintain a stable net asset value (“NAV”) of $1
per share. A team of persons at FAF, including Mr. Busse, managed the Prime Portfolio.
The Plan’s participants and beneficiaries never received information regarding the
composition of the Mount Vernon Prime Portfolio.
            181.   Similarly, the Mount Vernon Bond Portfolio was supposed to be managed
to preserve capital and minimize fluctuations in the NAV. The Bond Portfolio was not
managed as a money market fund. FAF, however, sought to keep the NAV at $1 per
share.       The participants and beneficiaries of the Plan never received information
regarding the composition of the Mount Vernon Bond Portfolio.
            182.   On information and belief, despite their obligation to invest the Mount
Vernon Portfolios in high quality and low risk investments, FAF Advisors invested the
Mount Vernon Bond Portfolio in asset-backed commercial paper issued by three specific
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structured investment vehicles (“SIVs”). These SIVs – KKR Atlantic Funding Trust,
KKR Pacific Funding Trust, and Ottimo Funding, Ltd. – were backed by toxic subprime
mortgages and Alt-A securities.
            183.   FAF thus knew that the investment of Plan assets into the Mount Vernon
Portfolios was imprudent. On information and belief, Defendant FAF Advisors did not
conduct an independent investigation of the nature and quality of the assets backing the
SIVs’ commercial paper, but instead simply bought commercial paper that rating
agencies, such as Standard & Poor’s, Moody’s Investor Services, and Fitch Ratings, had
rated highly. As such, FAF Advisors’ decision to invest and maintain the Plan’s assets in
the Mount Vernon Portfolios was imprudent.
            184.   During the second half of 2007, the values for SIV commercial paper began
to fall sharply. As early as August 2007, investment rating agencies started to downgrade
the rating of the commercial paper issued by the SIVs. By November 2007, rating
agencies rated all three SIVs as either “D,” “Not Prime,” or “junk.”
            185.   As the SIVs held by the Mount Vernon Bond Portfolio became distressed,
the value of the portfolio declined and the NAV of the Mount Vernon Bond Portfolio
threatened to fall below $1.
            186.   The cutting of the SIV’s bond rating to junk should have caused FAF
Advisors to divest the Plan’s interest in the Mount Vernon Portfolios.
            187.   But instead, in an attempt to dilute the effect that the distressed SIVs had on
the Mount Vernon Bond Portfolio and prevent the NAV from “breaking the buck,” Mr.
Busse engaged in an unlawful scheme to liquidate and restructure the Mount Vernon
Bond Portfolio.
            188.   Starting in February and through at least March 2008, Mr. Busse directed
the reallocation of numerous loans of securities from lenders in the Mount Vernon Prime
Portfolio to lenders invested in the Mount Vernon Bond Portfolio, in an effort to increase
the assets in the Mount Vernon Bond Portfolio and maintain a NAV of $1. The Plan,
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which was invested in the Prime Portfolio, suffered losses as a result of these fraudulent
transfers.
            189.   Despite Mr. Busse’s fraudulent efforts to prop up the NAV of the Mount
Vernon Bond Portfolio, the value of the portfolio – and therefore the value of the Plan’s
assets – dropped significantly on March 5, 2008. The Plan, which was also invested in
the Mount Vernon Bond Portfolio, suffered losses as a result of the defaulted SIVs.
            190.   According to the Plan’s 2008 Form 5500, the collateral held by the Plan
under the SLP, which was invested in the Mount Vernon Portfolios, lost over $14.2
million in 2008.        Those losses were never recovered by the Plan before it ceased
participating in the SLP.
            191.   Had the Mount Vernon Bond Portfolio been prudently managed by FAF
Advisors to preserve capital and minimize fluctuation in the NAV and not invested in
high risk, low quality assets-backed commercial paper issued by SIVs, the Plan would
not have suffered the $14 million loss to the collateral held by the Plan under the SLP.
            192.   On information and belief, in or about March 2008, U.S. Bancorp, U.S.
Bank, N.A., and the Committee Defendants discovered the fraudulent reallocation of the
SLP collateral investments by Mr. Busse and began an internal investigation of FAF
Advisors and Mr. Busse’s actions.
            193.   The reallocation scheme later became the subject of an enforcement action
by the SEC and, in November 2010, the SEC issued an Order Instituting Administrative
and Cease-and-Desist Proceedings against Mr. Busse.
            194.   The SEC found that Mr. Busse, in connection with FAF Advisors’
management of the Mount Vernon Portfolios, had committed several violations of the
antifraud provisions of the securities laws, including Section 17(a) of the Securities Act
and Section 10(b) of the Exchange Act and Rule 10b-5 thereunder.




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            195.   Defendant U.S. Bank, N.A., the parent of FAF Advisors and the Trustee of
the Plan, paid to settle Mr. Busse’s case, as well as other cases alleging breaches of
fiduciary duty in the management of their securities lending programs.
            196.   In or around December 2010, Defendant U.S. Bank, N.A. sold FAF
Advisors to Defendant Nuveen Asset Management, LLC. As part of the deal, Nuveen
Asset Management acquired FAF Advisors’ business of providing investment advisory
services, research, sales and distribution in connection with equity, non-money market
fixed income, real estate, or asset allocation investment products or accounts. Nuveen
Asset Management also acquired all liabilities of FAF Advisors relating to that business,
as well as all liabilities arising under a list of assumed contracts, which includes FAF
Advisors’ 2007 contract to provide services to the Plan.
            197.   Thus, Nuveen acquired liability for the fiduciary breaches and self dealing
committed by FAF Advisor in its capacity as an investment manager for the Plan
pursuant to the Investment Management Agreement, which was assumed by Nuveen.
            198.   After the sale of FAF Advisors, U.S. Bancorp and U.S. Bank, N.A. ceased
to use parties in interest to manage a significant portion of the Plan’s assets by reducing
the parties in interest-managed assets by 81%, from $512 million to $95 million.

F.          Failure to Monitor the Plan’s Assets

            199.   At all times after the Compensation Committee became a named fiduciary
of the Plan, the Compensation Committee Defendants had the obligation: (i) to monitor
the Plan’s investments, its investment allocation strategy among investment classes, and
the performance of the Plan’s investment advisors, including the Investment Manager,
FAF Advisors; (ii) to periodically review the reports of the Investment Committee
reporting on the investments of the Plan; and (iii) to take appropriate action to terminate
the Plan’s investments and/or its investment advisors if the circumstances so warranted.


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These obligations were particularly critical when there were significant changes in the
equities market, which increased the risks of continuing the 100% Equities Strategy.
            200.   On information and belief, at all times after the Investment Committee
Defendants became named fiduciaries of the Plan, they had the obligation: (i) to
periodically review investment strategies and activity and to monitor the performance of
the Plan’s investments and investment advisors; (ii) to report periodically to the
Compensation Committee on its actions; and (iii) to take appropriate action to terminate
the Plan’s investments and/or its investment advisors if the circumstances so warranted.
These obligations were particularly critical when there were significant changes in the
equities market, which increased the risks of continuing the 100% Equities Strategy.
            201.   On information and belief, at all times after the Compensation Committee
became a named fiduciary of the Plan, the U.S. Bancorp Board of Directors Defendants
were responsible for the appointment and removal, and for periodically monitoring the
performance of the members of the Compensation Committee and the Investment
Committee.
            202.   The material changes in market conditions, including the increase in
volatility and risk of the equities market should have caused the Committee Defendants
to reevaluate the 100% Equities Strategy to determine whether, under the circumstances
then prevailing, the strategy was prudent, diversified, and in the best interest of the Plan
and its participants and beneficiaries.
            203.   By no later than mid-2008, by which time increased volatility and
correlation among all stocks in the equities market signaled an increase in the risk
associated with equity investments generally, the Committee Defendants should have
reevaluated the investments of the Plan, including a reevaluation of the 100% Equities
Strategy and should have moved a significant portion of the Plan’s assets into cash,
treasury bills, and/or bonds.


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            204.   Had the Defendants made a reasonable effort sometime between the end of
2007 and the first half of 2008 to monitor and reevaluate the 100% Equities Strategy in
light of the dramatic changes in market conditions and the sharp increase in the volatility
of and the correlation within the equities market, and had the Defendants properly
diversified the Plan’s investments into other asset classes, such as cash, treasury bills,
and/or bonds, the Plan would have avoided at least $748 million of the $1.1 billion losses
it suffered in 2008.
            205.   In addition, the fraudulent scheme engaged in by FAF Advisors and Mr.
Busse should also have caused the Committee Defendants to take steps to safeguard the
assets of the Plan and to remove FAF Advisors as a fiduciary and Investment Manager of
the Plan.
            206.   By no later than March 2008, after FAF Advisors’ fraudulent scheme
became known to U.S. Bancorp, the Board of Directors Defendants, U.S. Bank, N.A.,
and the Committee Defendants, the Defendants should have conducted a thorough review
of all the investments of the Plan and of FAF Advisors’ management of the Plan’s assets,
including (i) the management of the Mount Vernon Portfolios to assure the cash collateral
the Plan received under the SLP was being invested in high quality, low-risk investments,
(ii) the fraudulent manipulation of the Mount Vernon Portfolios, and (iii) FAF Advisors’
self-interested, imprudent, and disloyal investment of the Plan’s assets into 100% equities
in order to further the interests of FAF Advisors’ SLP and the FAF Mutual Funds.
            207.   A prudent fiduciary, upon conducting such a review, would have, at a
minimum, safeguarded the Plan’s assets by (i) removing FAF Advisors as the fiduciary
and Investment Manager, (ii) engaging a new, unconflicted investment manager for the
Plan, (iii) modifying the Plan’s investment allocation strategy of investing the Plan 100%
in equities by diversifying the Plan’s investments into additional asset classes, including,
cash, treasury bills, and/or bonds, and (iv) making reasonable efforts under the
circumstances to remedy the fiduciary breaches of FAF Advisors.
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            208.   Once the fraud was uncovered, had the Defendants taken appropriate steps
to reform the Plan’s investment allocation and thereafter properly diversified the Plan’s
investments, the Plan would have avoided at least $748 million of the $1.1 billion losses
it suffered in 2008.
            209.   At no time after learning of the Plan’s losses resulting from the investment
of the Plan’s collateral in the Mount Vernon Portfolios did any of the Defendants make a
reasonable effort to remedy the breaches of FAF Advisors resulting from the imprudent
investment of the Plan’s assets in the Mount Vernon Portfolios.
            210.   Had the Defendants made a reasonable effort to remedy the breaches of
FAF Advisors, the Plan would have recovered the $14.2 million in losses suffered by the
Plan resulting from the imprudent investment of the cash collateral received by the Plan
under the SLP in the Mount Vernon Portfolios.


                               VII.     CLASS ALLEGATIONS

A.          Class Definition

            211.   Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23 (b)(1)(A) and (2),
on behalf of themselves and the following Class:

            All participants who are vested in accrued benefits in the Plan from
            September 30, 2007 to December 31, 2010 and their beneficiaries.
            Excluded from the Class are Defendants and members of their immediate
            families, or any of their heirs, successors or assigns.

B.          Numerosity

            212.   The members of the Class are so numerous that joinder of all members is
impracticable. According to the 2008 Form 5500, the Plan had 74,149 participants at the
end of the 2008 Plan year.




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C.          Commonality

            213.   The issues of liability in this case present numerous questions of law and
fact that are common to all members of the Class, including:
                   a.    whether each or all of the Defendants were fiduciaries of the Plan
under ERISA with respect to their roles regarding the creation, maintenance, and/or
implementation of the 100% Equities Strategy, which invested approximately 100% of
the Plan’s assets in equities;
                   b.    whether each or all of the Defendants breached their fiduciary
obligations under ERISA to prudently manage the Plan’s assets by causing or allowing
the Plan to invest approximately 100% of the Plan’s assets in equities;
                   c.    whether each or all of the Defendants breached their fiduciary
obligations under ERISA to act loyally and solely in the interest of Plan participants and
beneficiaries by causing or allowing the Plan to pursue an investment allocation strategy
which exposed Plan assets to unnecessary risk in order to enhance U.S. Bancorp’s bottom
line and/or by using the assets of the Plan for their own benefit;
                   d.    whether the Defendants breached their obligations to diversify the
investments of the Plan when they caused or permitted the Plan to be invested 100% in
equities;
                   e.    whether each of the Defendants breached their obligations to
monitor and reevaluate the 100% Equity Strategy in light of the dramatic changes in
market conditions and the sharp increase in the volatility of and correlation within the
equities market, thereby exposing the Plan to unnecessary risk of loss;
                   f.    whether the Defendants engaged in self-dealing by pursuing a 100%
Equities Strategy which benefitted FAF Advisors and several members of the
Compensation Committee and Board of Directors;



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                   g.    whether the Plan suffered losses as a result of the breaches of
fiduciary duty and co-fiduciary obligations committed by any or all of the Defendants
and, if so, the extent of those losses; and
                   h.    whether Defendants profited through the use of Plan assets.
            214.   The issues regarding relief are also common to all members of the Class, as
any relief will consist primarily of a determination of whether the Class is entitled to
recover losses on behalf of the Plan from any of the Defendants as a result of their
breaches of fiduciary duty and/or to recover any profits made through the use of Plan
assets. Any monetary relief recovered pursuant to ERISA § 409(a) will be paid into the
Plan itself.

D.          Typicality

            215.   Plaintiffs’ claims are typical of those of the Class they seek to represent
because the claims arise from the same events, practices, and/or course of conduct.
Specifically, Plaintiffs’ claims on behalf of themselves and all other members of the
Class challenge Defendants’ 100% Equities Strategy and management of the Plan’s
assets during the Class Period.
            216.   Plaintiffs’ claims under ERISA § 502(a)(2), which allows for relief to be
sought on behalf of the Plan and for any monetary relief to be paid into the Plan, are
typical because Plaintiffs bring the same claim that each participant and beneficiary of
the Plan is entitled to bring.
            217.   Plaintiffs’ claims are also typical with respect to any equitable relief
because that relief would affect all Class members equally.

E.          Adequacy

            218.   Plaintiffs will fully and adequately protect the interests of all members of
the Class.

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            219.   Plaintiffs have no interests that are antagonistic or in conflict with the
interests of the Class.
            220.   Defendants have no unique defenses against Plaintiffs that would interfere
with Plaintiffs’ representation of the Class.
            221.   Plaintiffs have retained competent counsel who are experienced in class
action and ERISA litigation.

F.          Rule 23(b)(1) Requirements

            222.   The requirements of Rule 23(b)(1)(A) are satisfied because prosecution of
separate actions by the members of the Class would create a risk of establishing
incompatible standards of conduct for one or more of the Defendants.
            223.   The requirements of Rule 23(b)(1)(B) are satisfied because adjudication of
these claims by individual members of the Class would, as a practical matter, be
dispositive of the interests of the other members who are not parties to the actions, or
substantially impair or impede the ability of those other members of the Class to protect
their interests.

G.          Rule 23(b)(2) Requirements

            224.   The requirements of Rule 23(b)(2) are satisfied because Defendants have
acted or refused to act on grounds generally applicable to the Class, thereby making
appropriate final injunctive, declaratory or other appropriate equitable relief with respect
to the Class as a whole.

H.          Rule 23(b)(3) Requirements

            225.   The requirements of Rule 23(b)(3) are met in this action because (a) the
questions of law and/or fact – whether the Defendants violated ERISA by pursuing an
investment allocation strategy that resulted in 100% of the Plan’s assets being invested in

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equities – are not only common, but will predominate over any individual questions, and
(b) a class action is superior to other available methods for the fair and efficient
adjudication of this litigation.
            226.   The following factors set forth in Rule 23(b)(3) favor certification of this
case as a class action:
                   a.     The members of the Class have an interest in a unitary adjudication
of the issues presented in this action for the same reasons that this case should be certified
under Rule 23(b)(1).
                   b.     This District is the most desirable location for concentrating the
litigation for several reasons, including: (i) the fiduciary breaches alleged herein occurred
in this District; (ii) the Plan is administered in this District; and (iii) the majority of the
company witnesses are located in this District.
            227.   There are no anticipated difficulties in managing this case as a class action.

                               VIII.      CAUSES OF ACTION

                                             COUNT I

 BREACH OF FIDUCIARY DUTIES UNDER ERISA § 404 FOR MAINTAINING
  OR RE-ADOPTING THE 100% EQUITIES STRATEGY, AND FOR FAILING
    TO MONITOR AND TERMINATE THE 100% EQUITIES STRATEGY
   (AGAINST THE COMPENSATION COMMITTEE DEFENDANTS, THE
     INVESTMENT COMMITTEE DEFENDANTS, AND FAF ADVISORS)
            228.   Pursuant to Fed. R. Civ. P. Rule 10(c), Plaintiffs hereby re-allege and
incorporate by reference the allegations of the preceding paragraphs.
            229.   The Compensation Committee Defendants, Investment Committee
Defendants, and FAF Advisors were fiduciaries of the Plan within the meaning of ERISA
§ 3(21) with respect to the management and disposition of the assets of the Plan.
            230.   As fiduciaries of the Plan, the Compensation Committee Defendants,
Investment Committee Defendants, and FAF Advisors were required, pursuant to ERISA
§ 404(a)(1)(A), to act solely in the interest of the participants and beneficiaries of the plan

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they served and “(A) for the exclusive purpose of: (i) providing benefits to participants
and their beneficiaries; and (ii) defraying reasonable expenses of administering the plan.”
29 U.S.C. § 1104(a)(1)(A).
            231.   As fiduciaries of the Plan, the Compensation Committee Defendants,
Investment Committee Defendants, and FAF Advisors were required, pursuant to ERISA
§ 404(a)(1)(B), to discharge of their duties “with the care, skill, prudence, and diligence
under the circumstances then prevailing that a prudent man acting in a like capacity and
familiar with such matters would use in the conduct of an enterprise of a like character
and with like aims.” 29 U.S.C. § 1104(a)(1)(B).
            232.   As fiduciaries of the Plan, the Compensation Committee Defendants,
Investment Committee Defendants, and FAF Advisors were required, pursuant to ERISA
§ 404(a)(1)(C), to diversify the investments of the Plan so as to minimize the risk of large
losses. 29 U.S.C. § 1104(a)(1)(C). This obligation includes a duty to diversify the Plan’s
investments both between asset classes as well as within asset classes.
            233.   As fiduciaries of the Plan, the Compensation Committee Defendants,
Investment Committee Defendants, and FAF Advisors were required, pursuant to ERISA
§ 404(a)(1)(D), to act in accordance with the documents and instruments governing the
Plan, including the Investment Policy and the Investment Guidelines.          29 U.S.C. §
1104(a)(1)(D).
            234.   As previously alleged, the Compensation Committee was expressly
responsible, on an ongoing basis, for “determining the types of investments in which the
Fund is to be invested (i.e., equity versus bond),” for “selecting, monitoring and
terminating the individual investments,” and for selecting or establishing, monitoring,
and terminating individual separate accounts for investments.
            235.   Because the Compensation Committee Defendants were charged with the
responsibility to select, monitor, and terminate the types of investments of the Plan, the
individual investments of a Plan, and the individual separate accounts for investments,
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they each had an ongoing duty to monitor the prudence and loyalty of the investment
strategy, as well as each investment (or each separate account), to ensure that any
individual investment did not cause the Plan as a whole to be undiversified, that no
investments constituted prohibited transactions, and that no investments violated the
applicable Plan documents, including the Investment Policy and Investment Guidelines.
            236.   Specifically, the Compensation Committee was responsible for reviewing
the existing 100% Equities Strategy and deciding to diversify the Plan’s portfolio to
include other asset classes, especially during times when the equities market environment
changed dramatically. The Investment Policy states, “From time to time the Committee
may make additional diversifying investments in other asset classes [other than
equities].”
            237.   As previously alleged, the Investment Committee Defendants were
expressly responsible for “monitoring the performance of the investments.” As such,
they had an ongoing duty to monitor the prudence and loyalty of each investment, to
ensure that any individual investment did not cause the Plan as a whole to be
undiversified, that no investments constituted prohibited transactions, and that no
investments violated the applicable Plan documents, including the Investment Policy and
Investment Guidelines.
            238.   As previously alleged, FAF Advisors had “full discretionary authority” to
supervise and direct the investment and reinvestment of the assets of the Plan in
compliance with the limitations and requirements of ERISA. As such, FAF Advisor had
an ongoing duty to monitor the prudence and loyalty of the types of investments of the
Plan as well as each investment of the Plan, to ensure that any individual investment did
not cause the Plan as a whole to be undiversified, that no investments constituted
prohibited transactions, and that no investments violated ERISA or the Plan documents,
including the Investment Policy and Investment Guidelines.


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            239.   The Compensation Committee Defendants, Investment Committee
Defendants, and FAF Advisors breached these duties to select, monitor, and terminate
investments by, inter alia:
                           a.   Causing the Plan to continue to be invested in the 100%
                    Equities Strategy, which was imprudent, disloyal, and failed to properly
                    diversify the investments of the Plan, thereby exposing the Plan to
                    unnecessary risk of loss, even though they knew or should have known
                    that such an investment allocation represented an imprudent allocation for
                    pension assets;
                           b.   Failing to adequately monitor the 100% Equities Strategy by
                    reevaluating the strategy periodically to determine whether it continued to
                    be prudent in light of the dramatic changes in market conditions in late
                    2007 and the first half of 2008, including the sharp increase in the
                    volatility of the equities market and the increased correlation among all
                    stocks, thereby exposing the Plan to unnecessary risk of loss;
                           c.   Allowing the purchase of new equity investments during the
                    class period, which maintained the undiversified and excessively risky
                    allocation to 100% equities;
                           d.   Failing to terminate existing equity investments and purchase
                    other asset classes to ensure that the Plan’s portfolio was diversified,
                    invested prudently and loyally, and in compliance with the terms of the
                    Plan and ERISA; and
                           e.   Failing to terminate existing investments that did not comply
                    with the Investment Policy, Investment Guidelines, or Investment
                    Management Agreements of the Plan.
            240.   On information and belief, no other ERISA-governed defined benefit plan
is invested 100% in equities.
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            241.   The Compensation Committee Defendants, Investment Committee
Defendants, and FAF Advisors also breached those duties by causing the Plan to continue
to be invested in an excessively risky strategy, which permitted U.S. Bancorp to project
higher rates of return on the assets of the Plan to increase the Company’s net income and
stock price. These Defendants maintained or re-adopted the 100% Equities Strategy
despite the sharp increase in the volatility of the equities market and the increased
correlation among all stocks that occurred from late 2007 to mid-2008.
            242.   The Compensation Committee Defendants, Investment Committee
Defendants, and FAF Advisors also breached those duties by continuing to maintain an
imprudent, disloyal, and undiversified 100% Equities Strategy in order to maximize the
assets available to FAF Advisors to invest in its own mutual funds and to create a pool of
corporate securities to use in its SLP, thereby increasing the net income of FAF Advisors
to the benefit of FAF Advisors and its parent, U.S. Bank, N.A. These Defendants
maintained or re-adopted the 100% Equities Strategy despite the sharp increase in the
volatility of the equities market and the increased correlation among all stocks that
occurred from late 2007 to mid-2008.
            243.   The fact that after U.S. Bancorp sold FAF Advisors (and thus removed its
self-interest), the Plan was reformed to include a significant allocation to fixed income
and real estate is further evidence that an investment allocation of 100% in equities is
imprudent and undiversified.
            244.   As a result of the above-described conduct, the Compensation Committee
Defendants, Investment Committee Defendants, and FAF Advisors have (a) failed to act
solely in the interest of the participants and beneficiaries of the Plan for the exclusive
purpose of providing them benefits, in violation of ERISA § 404(a)(1)(A), 29 U.S.C. §
1104(a)(1)(A); (b) failed to act with the care, skill, prudence, and diligence under the
circumstances then prevailing that a prudent man acting in a like capacity and familiar
with such matters would use in the conduct of an enterprise of a like character and with
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like aims, in violation of ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B); (c) failed to
diversify the investments of the Plan so as to minimize the risk of large losses, in
violation of ERISA § 404(a)(1)(C) , 29 U.S.C. § 1104(a)(1)(C); and (d) failed to act in
accordance with the documents and instruments governing the Plan, including the
Investment Policy and the Investment Guidelines, in violation of ERISA § 404(a)(1)(D),
29 U.S.C. § 1104(a)(1)(D).
            245.   The Compensation Committee Defendants, Investment Committee
Defendants, and FAF Advisors, through these multiple breaches of fiduciary duty, caused
the Plan to suffer at least $748 million in losses that would not have occurred had the
Plan been prudently diversified.
            246.   As such, the Compensation Committee Defendants, Investment Committee
Defendants, and FAF Advisors are liable to restore to the Plan the losses suffered by the
Plan as a result of their breaches, as well as to disgorge any profits or fees the
Compensation Committee Defendants, the Investment Committee Defendants, or FAF
Advisors received in connection with their several breaches of fiduciary duty.

                                               COUNT II
            BREACH OF FIDUCIARY DUTIES UNDER ERISA § 404 and § 406
                 FOR MANAGEMENT OF THE SLP COLLATERAL
                          (AGAINST FAF ADVISORS)

            247.   Pursuant to Fed. R. Civ. P. Rule 10(c), Plaintiffs hereby re-allege and incorporate

by reference the allegations of the preceding paragraphs.

            248.   FAF Advisors was a fiduciary of the Plan within the meaning of ERISA §
3(21), with respect to the management and disposition of the assets of the Plan.
            249.   As a fiduciary of the Plan, FAF Advisors was required, pursuant to ERISA
§ 404(a)(1)(A), to act solely in the interest of the participants and beneficiaries of the plan
they serve and “(A) for the exclusive purpose of: (i) providing benefits to participants and


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their beneficiaries; and (ii) defraying reasonable expenses of administering the plan.” 29
U.S.C. § 1104(a)(1)(A).
            250.   As a fiduciary of the Plan, FAF Advisors was also required, pursuant to
ERISA § 404(a)(1)(B), to invest the Plan assets “with the care, skill, prudence, and
diligence under the circumstances then prevailing that a prudent man acting in a like
capacity and familiar with such matters would use in the conduct of an enterprise of a like
character and with like aims.” 29 U.S.C. § 1104(a)(1)(B).
            251.   As a fiduciary of the Plan, FAF Advisors was required, pursuant to ERISA
§ 404(a)(1)(D), to act in accordance with the documents and instruments governing the
Plan, including the Investment Policy and the Investment Guidelines.           29 U.S.C. §
1104(a)(1)(D).
            252.   As a fiduciary of the Plan, FAF Advisors was prohibited under ERISA §
406(b)(1), 29 U.S.C. § 1106(b)(1), from dealing with the assets of the Plan in its own
interest or for its own accounts.
            253.   The collateral which the Plan received from borrowers to secure the
repayment of the equity securities loaned to third parties under the SLP constituted Plan
assets which FAF Advisors was under an obligation to prudently invest in conservative,
high quality, low risk investments so as to minimize the risk of loss to the Plan.
            254.   Despite these obligations, FAF Advisors invested the collateral the Plan
received under the SLP in the Mount Vernon Bond Portfolio, which it knew or should
have known included high risk, low quality assets-backed commercial paper issued by
three SIVs that were backed by toxic subprime mortgages and Alt-A securities.
            255.   During the second half of 2007, the values for SIV commercial paper began
to fall sharply. As early as August 2007, investment rating agencies started to downgrade
the rating of the commercial paper issued by the SIVs. By November 2007, rating
agencies rated all three SIVs as either “D,” “Not Prime,” or “junk.”


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            256.   The cutting of the SIV’s bond rating to junk should have caused FAF
Advisors to divest the Plan’s interest in the Mount Vernon Portfolios.
            257.   After the SIVs defaulted, the value of the Bond Portfolio, which was
always supposed to stay above a NAV of $1, lost significant value. According to the
Plan’s 2008 Form 5500, the collateral held by the Plan under the SLP, which was
invested in the Mount Vernon Portfolios, lost over $14.2 million in 2008 and those losses
were never recovered by the Plan before it ceased participating in the SLP.
            258.   Had the Bond Portfolio been prudently managed by FAF Advisors to
preserve capital and minimize fluctuations in the NAV and not invested in risky, low
quality commercial paper issued by SIVs, the Plan would not have suffered the $14
million loss to the Plan’s reinvested collateral.
            259.   Given that FAF Advisors knew that the Bond Portfolio was invested in
risky low quality commercial paper issued by SIVs, it should have sold any investment
the Plan had in the Bond Portfolio.
            260.   FAF Advisors also invested the collateral the Plan received under the SLP
in the Mount Vernon Prime Portfolio.
            261.   FAF Advisors, through Emil Busse, fraudulently transferred loans between
the lenders in the Prime Portfolio (including the Plan) to lenders in the Bond Portfolio, to
preserve FAF’s reputation as a money manager. These acts caused losses to the Plan and
benefited FAF Advisors rather than the Plan.
            262.   As a result of the above-described conduct, FAF Advisors failed to act
solely in the interest of the participants and beneficiaries of the Plan for the exclusive
purpose of providing them benefits, in violation of ERISA § 404(a)(1)(A), 29 U.S.C. §
1104(a)(1)(A); failed to act with the care, skill, prudence, and diligence under the
circumstances then prevailing that a prudent man acting in a like capacity and familiar
with such matters would use in the conduct of an enterprise of a like character and with
like aims, in violation of ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B); and failed to
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act in accordance with the documents and instruments governing the Plan, including the
Investment Policy and the Investment Guidelines in violation of ERISA § 404(a)(1)(D).
29 U.S.C. § 1104(a)(1)(D).
            263.   The FAF Advisors conduct also violated ERISA § 406(b) in that FAF
Advisors engaged in the fraudulent transfers for its own reputational benefit – to avoid
“breaking the buck” and therefore dealt with plan assets for its own interest.
            264.   Had FAF Advisors invested the collateral which the Plan received from
borrowers to secure the repayment of the equity securities loaned to third parties under
the SLP in conservative, high-quality, low-risk investments, as it was obligated to do, the
Plan would not have suffered the same losses as a result of the investment in the Mount
Vernon Portfolios.
            265.   As such, FAF Advisors is liable to restore to the Plan the losses suffered by
the Plan as a result of their breaches and to disgorge all profits and fees which it made
from lending the Plan’s securities under the SLP.

                                            COUNT III
    BREACH OF FIDUCIARY DUTY UNDER ERISA § 404 FOR FAILURE TO
      MONITOR OTHER FIDUCIARIES OF THE PLAN (AGAINST THE
     COMPENSATION COMMITTEE DEFENDANTS, THE INVESTMENT
       COMMITTEE DEFENDANTS, AND THE BOARD OF DIRECTOR
                         DEFENDANTS)

            266.   Pursuant to Fed. R. Civ. P. 10(c), Plaintiffs hereby re-allege and incorporate
by reference the allegations of the preceding paragraphs.
            267.   This Count alleges fiduciary breaches against the Compensation Committee
Defendants, the Investment Committee Defendants, and the Board of Director
Defendants (collectively the “Monitoring Defendants”).
            268.   Under ERISA, a fiduciary charged with the authority to select and remove
other fiduciaries or who, as a practical matter, actually appoints other fiduciaries, has an
ongoing duty to monitor the performance of those persons whom the fiduciary may
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remove at reasonable intervals to ensure that their performance has been in compliance
with the terms of the plan and statutory standards, and satisfies the needs of the plan.
            269.   As fiduciaries, the Monitoring Defendants were required by ERISA §
404(a)(1), 29 U.S.C. § 1104(a)(1) to manage and administer the Plan and the Plan’s
investments “solely in the interest of the participants and beneficiaries” of the Plan and
for the “exclusive purpose” of providing benefits to the participants and beneficiaries of
the Plan and defraying reasonable expenses.
            270.   As fiduciaries of the Plan, the Monitoring Defendants were required
pursuant to ERISA § 404(a)(1)(B) to discharge of their duties “with the care, skill,
prudence, and diligence under the circumstances then prevailing that a prudent man
acting in a like capacity and familiar with such matters would use in the conduct of an
enterprise of a like character and with like aims.” 29 U.S.C. § 1104(a)(1)(B).
            271.   As fiduciaries of the Plan, the Monitoring Defendants were required
pursuant to ERISA § 404(a)(1)(C) to diversify the investments of the Plan so as to
minimize the risk of large losses. 29 U.S.C. § 1104(a)(1)(C).
            272.   As fiduciaries of the Plan, the Monitoring Defendants were required
pursuant to ERISA § 404(a)(1)(D) to act in accordance with the documents and
instruments governing the Plan, including the Investment Policy and the Investment
Guidelines. 29 U.S.C. § 1104(a)(1)(D).
            273.   As previously alleged, the Board of Directors Defendants were responsible
for the appointment and removal, and for periodically monitoring the performance, of the
Compensation Committee, the Investment Committee, and FAF Advisors, through which
the Compensation Committee controlled the investments and investment allocations of
the Plan.
            274.   As previously alleged, the Compensation Committee was responsible on an
ongoing basis for the appointment of the Investment Manager of the Plan, FAF Advisors,
which included the ongoing duty to monitor the performance of FAF Advisors.
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            275.   As previously alleged, the Investment Committee Defendants were charged
with the responsibility for monitoring the performance of the investments of the Plan and
for monitoring any investment advisors hired by the Investment Committee. As part of
its responsibility to monitor the investments of the Plan, the Investment Committee
Defendants had a duty to monitor the investment decision making of the other fiduciaries
who controlled the investment allocation of the Plan, including the Compensation
Committee Defendants and FAF Advisors.
            276.   The Monitoring Defendants, who were individually and collectively
responsible for the appointment, removal, and periodic monitoring of the performance of
FAF Advisors, breached that duty by, inter alia:

                   a.    Failing to properly monitor the performance of FAF Advisors to
determine whether it was prudently investing the assets of the Plan and adequately
diversifying the Plan’s investments to reduce the risk of large loss to the Plan;
                   b.    Failing to conduct a thorough review of FAF Advisors’ management
of the Plan’s assets and the management of the SLP, and failing to promptly remove FAF
Advisors as the Plan’s Investment Manager after learning that FAF Advisors had
fraudulently manipulated the Mount Vernon Portfolios;
                   c.    Permitting FAF Advisors to maintain a 100% Equities Strategy
despite the dramatic changes in market conditions, including the sharp increase in the
volatility of the equities market and the increased correlation among all stocks from late
2007 to mid-2008, and thereby exposing the Plan to unnecessary risk of loss, even though
the Monitoring Defendants knew or should have known that the Plan’s undiversified
investment allocation, under the circumstances then prevailing, represented an
inappropriate allocation for pension assets;




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                   d.    Permitting FAF Advisors to maintain a risky and imprudent 100%
Equities Strategy that allowed U.S. Bancorp to project higher rates of return on the assets
of the Plan to increase the Company’s net income and stock price;
                   e.    Permitting FAF Advisors to maintain a risky, imprudent and disloyal
100% Equities Strategy that allowed FAF Advisors to maximize the assets available to
invest in FAF Advisors’ own mutual funds and to create a pool of funds to invest in its
SLP, all to the benefit of FAF Advisors and its parent, U.S. Bank, N.A., at a time when
the Plan was substantially overfunded and the continued pursuit of such a risky
investment allocation strategy to secure a high rate of return on the Plan’s investments
would not result in any greater pension benefits for the Plan participants and their
beneficiaries;
                   f.    Failing to ensure that FAF Advisors performed an adequate due
diligence review of the assets acquired by the Mount Vernon Portfolios in which the
collateral received by the Plan under the SLP was invested to assure that such
investments were conservative, high-quality, low-risk, and highly liquid so they would
not present an undue risk of loss to the Plan; and
                   g.     Failing to take actions to remedy the breaches of FAF Advisors and
to recover the losses suffered by the Plan resulting from FAF Advisors’ failure to
prudently manage the Mount Vernon Portfolios to assure the cash collateral the Plan
received under the SLP was being invested in high-quality, low-risk investments.

            277.   The Monitoring Defendants, through these multiple breaches of fiduciary
duty, caused the Plan to suffer at least $748 million in losses to the Plan’s investment
portfolio and an additional $14 million in losses to its securities lending portfolio that
would not have occurred had the Plan been prudently diversified.
            278.   Had the Monitoring Defendants properly monitored the other fiduciaries of
the Plan, the Plan would not have suffered such significant losses.

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            279.   As a result of the above-described conduct, the Monitoring Defendants
have failed to act solely in the interest of the participants and beneficiaries of the Plan for
the exclusive purpose of providing them benefits, in violation of ERISA § 404(a)(1)(A),
29 U.S.C. § 1104(a)(1)(A); failed to act with the care, skill, prudence, and diligence
under the circumstances then prevailing that a prudent man acting in a like capacity and
familiar with such matters would use in the conduct of an enterprise of a like character
and with like aims, in violation of ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B);
failed to diversify the investments of the Plan so as to minimize the risk of large losses, in
violation of ERISA § 404(a)(1)(C), 29 U.S.C. § 1104(a)(1)(C); and failed to act in
accordance with the documents and instruments governing the Plan, including the
Investment Policy and the Investment Guidelines, in violation of ERISA § 404(a)(1)(D),
29 U.S.C. § 1104(a)(1)(D).
            280.   As a result of the above-described conduct, the Monitoring Defendants
have breached their fiduciary obligations to monitor FAF Advisors.                As such, the
Monitoring Defendants are liable to restore to the Plan the losses suffered by the Plan as a
result of their breaches and disgorge any profits received as a result of the breaches.
            281.   As a result of the above-described conduct, the Board of Director
Defendants have breached their fiduciary obligations to monitor the Compensation
Committee Defendants and are thus liable to restore to the Plan the losses suffered by the
Plan as a result of their breaches and to disgorge any profits received as a result of the
breaches.
                                            COUNT IV
            (VIOLATION OF ERISA § 406(a) AGAINST THE COMPENSATION
             COMMITTEE DEFENDANTS, THE INVESTMENT COMMITTEE
                       DEFENDANTS, AND FAF ADVISORS)

            282.   Pursuant to Fed. R. Civ. P. 10(c), Plaintiffs hereby re-allege and incorporate
by reference the allegations of the preceding paragraphs.


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            283.   As an employer and the sponsor of the Plan, U.S. Bancorp was and
continues to be a party-in-interest to the Plan under ERISA § 3(14), 29 U.S.C. §
1002(14).
            284.   As fiduciaries of the Plan, the Compensation Committee Defendants,
Investment Committee Defendants, and FAF Advisors were prohibited, pursuant to
ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D), from causing the Plan to engage in
any transaction when they individually or collectively knew that the transaction
constituted a direct or indirect use by or for the benefit of a party-in-interest of any assets
of the Plan.
            285.   By virtue of their positions as fiduciaries of the Plan, the Compensation
Committee Defendants, Investment Committee Defendants, and/or FAF Advisors caused
or permitted the Plan to pursue a 100% Equities Strategy that was designed to and did
allow U.S. Bancorp, the sponsor of the Plan, to claim artificially high pension returns as
part of U.S. Bancorp’s consolidated income by investing 100% of Plan assets in equities.
This direct or indirect use of plan assets benefited U.S. Bancorp in the following ways:
(1) U.S. Bancorp’s minimum contributions were decreased; and (2) the aggressive 100%
Equities Strategy allowed U. S. Bancorp to justify to shareholders a high assumed rate of
return for pension assets, which improved the Company’s financial reporting.
            286.   Between 2007 and 2010, the Compensation Committee Defendants,
Investment Committee Defendants, and/or FAF Advisors caused the Plan to engage in
multiple transactions involving purchases, sales, and exchanges of hundreds of millions
in equity securities which were part of the 100% Equities Strategy designed to benefit
U.S. Bancorp rather than Plan participants.
            287.   As such, the Compensation Committee Defendants, Investment Committee
Defendants, and FAF Advisors violated their fiduciary duties under ERISA by causing
the Plan to engage in transactions using Plan assets when they knew or should have
known that the transactions constituted a direct or indirect use by or for the benefit of
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U.S. Bancorp, a party in interest, in violation of ERISA § 406(a)(1)(D), 29 U.S.C. §
1106(a)(1)(D).
            288.   The Compensation Committee Defendants, Investment Committee
Defendants, and/or FAF Advisors are therefore liable to disgorge any profits or fees any
of them received in connection with such prohibited transactions and to restore to the
Plan the losses suffered by the Plan as a result of the prohibited transactions.


                                             COUNT V
               (VIOLATION OF ERISA § 406(b) AGAINST FAF ADVISORS)

            289.   Pursuant to Fed. R. Civ. P. 10(c), Plaintiffs hereby re-allege and incorporate
by reference the allegations of the preceding paragraphs.
            290.   As a fiduciary of the Plan, FAF Advisors was prohibited under ERISA §
406(b)(1), 29 U.S.C. § 1106(b)(1), from dealing with the assets of the Plan in its own
interest or for its own accounts.
            291.   By virtue of its position as a fiduciary of the Plan, FAF Advisors caused or
permitted the Plan to pursue the 100% Equities Strategy that was designed to and did
allow FAF Advisors, the Investment Manager of the Plan, to maximize the assets
available to FAF Advisors to invest in its own mutual funds and to create a pool of funds
to use in its SLP, thereby increasing the net income of FAF Advisors to the benefit of
FAF Advisors and its parent, U.S. Bank, N.A. Accordingly, FAF Advisors pursued a
100% Equities Strategy that redounded to the benefit of FAF Advisors while risking the
retirement security of the Plan’s participants and beneficiaries by exposing the Plan assets
to the higher risk of an undiversified portfolio. Moreover, FAF continued to pursue the
100% Equities Strategy, despite dramatic changes in market conditions, including the
sharp increase in the volatility of the equities market and increased correlation among all
stocks within the equities market, which occurred from late 2007 to mid-2008, thereby

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exposing the Plan to an unnecessary risk of loss. By these actions, FAF Advisors violated
its fiduciary duties under ERISA by dealing with the assets of the Plan in its own interest
in violation of ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1).

            292.   In addition, FAF Advisors had complete discretion to pick the individual
equity investments for the Plan. Rather than choose the lowest cost equity investments,
FAF Advisors chose to invest a significant part of the Plan’s assets its own mutual funds
in order to generate management fees for FAF Advisors, which violates ERISA’s
prohibition against dealing with the assets of the Plan in its own interest. ERISA §
406(b)(1), 29 U.S.C. § 1106(b)(1).
            293.   As a fiduciary of the Plan, FAF Advisors was prohibited under ERISA §
406(b)(2), 29 U.S.C. § 1106(b)(2), from acting in transactions involving the Plan on
behalf of a party whose interests are adverse to the interests of the Plan or the interests of
its participants or beneficiaries, which has been interpreted to prohibit FAF Advisors as a
fiduciary of the Plan from acting on both sides of a transaction that involves Plan assets.
            294.   Because FAF Advisors was the investment advisor of the underlying FAF
Mutual Funds in which it invested the Plan’s assets, FAF Advisors was acting on both
sides of all transactions where the Plan invested or redeemed its interest in the FAF
Mutual Funds. By these actions, FAF Advisors violated its fiduciary duties under ERISA
numerous times by acting in transactions involving the Plan on behalf of a party whose
interests are adverse to the interests of the Plan or the interests of its participants or
beneficiaries in violation of ERISA § 406(b)(2), 29 U.S.C. § 1106(b)(2).
            295.   FAF Advisors is therefore liable to disgorge of any profits or fees it
received in connection with its management of Plan assets and to restore to the Plan the
losses suffered by the Plan as a result of its violations of ERISA § 406(b).




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                                            COUNT VI
 (VIOLATION OF ERISA § 406(b) AGAINST FIDUCIARIES WHO EXERCISED
                          AND SOLD STOCK OPTIONS)

            296.   Pursuant to Fed. R. Civ. P. 10(c), Plaintiffs hereby re-allege and incorporate
by reference the allegations of the preceding paragraphs.
            297.   The following Defendants exercised stock options and sold Company stock
during the Class Period: Coors, Collins, Gluckman, Levin, Stokes, Davis, Reiten,
Johnson, Schnuck, and Owens.
            298.   As fiduciaries of the Plan, Defendants Coors, Collins, Gluckman, Levin,
Stokes, Davis, Reiten, Johnson, Schnuck, and Owens are and were prohibited by ERISA
§ 406(b)(1), 29 U.S.C. § 1106(b)(1), from dealing with the assets of the Plan in their own
interest or for their own accounts.
            299.   By virtue of their positions as fiduciaries of the Plan, Defendants Coors,
Collins, Gluckman, Levin, Stokes, Davis, Reiten, Johnson, Schnuck, and Owens caused
and/or allowed U.S. Bancorp to claim artificially high pension returns as part of the
Company’s income by allowing the Plan to be invested 100% in equities. This direct or
indirect use of Plan assets benefited the Company and its Board members by decreasing
the employer contributions and the funding requirements and by inflating the corporate
earnings by the excess risk in the portfolio.
            300.   These Defendants, in their positions as fiduciaries of the Plan, maintained
an Investment Policy that allowed U.S. Bancorp to report higher operating income than it
would have if the Plan had been allocated in a prudent and/or diversified manner.
Moreover, these Defendants maintained the 100% Equities Strategy for the benefit of
U.S. Bancorp even after dramatic changes in the financial markets, including the sharp
increase in the volatility of the equities market and the increased correlation among all
stocks in the equities market from late 2007 to mid-2008, which exposed the Plan to an
unnecessary risk of large loss.

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            301.   Upon information and belief, by allowing and enabling U.S. Bancorp to
report higher operating income based on the excessively risky 100% Equities Strategy,
these Defendants expected that the stock price of U.S. Bancorp would also increase.
            302.   Upon information and belief, the Investment Policy adopted and
implemented for the Plan resulted in a higher stock price for U.S. Bancorp than if the
Plan assets had been prudently allocated, diversified, and reported a lower income and/or
expected rate of return.
            303.   On information and belief, during the Class Period, these Defendants
profited from the higher expected rate of return because they were able to exercise and
sell stock options at higher prices.
            304.   By utilizing the Plan assets to increase corporate income and the corporate
stock price and by taking advantage of the increased price of U.S. Bancorp stock by the
sale of such stock, these Defendants violated their fiduciary duties under ERISA by
dealing with the assets of the Plan for their own personal interests in violation of ERISA
§ 406(b)(1), 29 U.S.C. § 1106(b)(1).
            305.   Defendants Coors, Collins, Gluckman, Levin, Stokes, Davis, Reiten,
Johnson, Schnuck, and Owens are therefore liable to disgorge any profits they received in
connection with the exercise and sale of such stock during the Class Period.

                                            COUNT VII
       (CO-FIDUCIARY LIABILITY UNDER ERISA § 405 AGAINST
       THE BOARD OF DIRECTOR DEFENDANTS, U.S. BANK, N.A.,
           THE INVESTMENT COMMITTEE DEFENDANTS,
  THE COMPENSATION COMMITTEE DEFENDANTS AND FAF ADVISORS)

            306.   Pursuant to Fed. R. Civ. P. 10(c), Plaintiffs hereby re-allege and incorporate
by reference the allegations of the preceding paragraphs.




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            307.   This Count alleges fiduciary breaches against the Board of Director
Defendants, U.S. Bank, N.A., the Investment Committee Defendants, the Compensation
Committee Defendants, and FAF Advisors.
            308.   As alleged above, during the Class Period, these Defendants were named as
fiduciaries in the Plan Document pursuant to ERISA § 402(a), 29 U.S.C. § 1102(a), or de
facto fiduciaries within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or
both. Thus, they were bound by the duties of loyalty, exclusive purpose, and prudence.
            309.   Section 405(a)(1) of ERISA, 29 U.S.C. § 1105(a)(1), imposes liability on a
fiduciary, in addition to any liability which he may have had under any other provision of
ERISA, if he knowingly participates in a breach of fiduciary duty by another fiduciary.
Section 405(a)(2) of ERISA, 29 U.S.C. § 1105(a)(2), imposes liability if a fiduciary, in
the administration of his fiduciary responsibilities, enables another fiduciary to commit a
breach. Section 405(a)(3) of ERISA, 29 U.S.C. § 1105(a)(3), imposes liability on a
fiduciary, in addition to any liability which he may have had under any other provision of
ERISA, if he knows of a breach by another fiduciary and fails to make reasonable efforts
to remedy it.
            310.   The Board of Director Defendants, U.S. Bank, N.A., the Compensation
Committee Defendants, the Investment Committee Defendants, and FAF Advisors, each
of whom were fiduciaries within the meaning of ERISA, by the nature of their fiduciary
responsibilities with respect to the Plan, knew of each breach of fiduciary duty alleged
herein arising out the investment allocation strategy pursued by the Compensation
Committee and FAF Advisors, which resulted in the Plan’s assets being invested 100% in
equities and took no steps to remedy those breaches, despite dramatic changes in the
financial markets that occurred from late 2007 to mid-2008, including the sharp increase
in volatility in the equities market and the increased correlation among stocks.




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                 a.   The Board of Director Defendants knew that the Plan was invested
100% in equities because this fact was repeatedly disclosed in SEC filings and the
Company’s annual reports. Directors of the Company were responsible for reviewing the
disclosures made to investors. In addition, the Board of Director Defendants knew that
the Plan was invested in a much riskier manner than the typical corporate defined benefit
plan because the typical investment allocation, which limited equities to 62% of the
Plan’s assets and included 32% of fixed income, was also disclosed in the Company’s
2007 Annual Report.
                 b.   The Board of Director Defendants also reviewed the Investment
Policy of the Plan, which stated that the Compensation Committee had decided to invest
the Plan 100% in equities.
                 c.   The Trustee, U.S. Bank, N.A., knew that the Plan was invested
100% in equities because it was responsible for executing all the trades to effectuate the
Investment Policy.
                 d.   The    Investment   Committee    and   Compensation     Committee
Defendants knew that the Plan was invested 100% in equities because they were
responsible for monitoring the individual investments of the Plan and thus knew that the
Plan only held equity investments.
                 e.   FAF Advisors knew that the Plan was invested 100% in equities
because it was charged with picking the individual investments for the Plan (which were
all invested in equities) and the 100% Equities Strategy was described in the Investment
Policy.
                 f.   The Board of Director Defendants, the Trustee, the Investment
Committee and Compensation Committee Defendants, and FAF Advisors all knew that
the 100% Equities Strategy was a breach of prudence because, as fiduciaries, they were
aware of the prudence requirement to minimize the risk of large losses.


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                   g.    The Board of Director Defendants, the Trustee, the Investment
Committee and Compensation Committee Defendants, and FAF Advisors all knew that
the 100% Equities Strategy was a breach of diversification because the lack of
diversification is so extreme in that the Plan was invested entirely in one single asset
class.
                   h.    The Board of Director Defendants, the Compensation Committee
and Investment Committee Defendants, and FAF Advisors knew that the 100% Equities
Strategy was a breach of loyalty and violated ERISA Section 406 because they were
aware of the many ways in which the Company, its Directors, and FAF Advisors
benefitted from the breach of loyalty and the Section 406 violations, including but not
limited to the mutual fund fees paid to FAF Advisors and the increased corporate income
generated by an excessively high assumed rate of return on pension assets.

            311.   As such, each is liable for such breaches by the Compensation Committee
and FAF Advisors pursuant to Section 405(a)(3) of ERISA, 29 U.S.C. § 1105(a)(3).
            312.   The Board of Director Defendants, U.S. Bank, N.A., the Compensation
Committee Defendants, and the Investment Committee Defendants, each of whom were
fiduciaries within the meaning of ERISA, by the nature of their fiduciary responsibilities
with respect to the Plan, knew of the breaches of fiduciary duty alleged herein arising out
of FAF Advisors’ failure to prudently manage the Mount Vernon Portfolios to assure the
cash collateral the Plan received under the SLP was being invested in high-quality, low-
risk investments, which resulted in the losses to the Plan and took no steps to remedy
those breaches.

                   a.    The Board of Director Defendants, including the Compensation
Committee and Investment Committee Defendants, knew of FAF Advisors’ actions in
connection with the Securities Lending Program because they were aware of the 2010
SEC investigation of Emil Busse that lead to a cease and desist order. On information

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and belief, the Company conducted a major internal investigation of FAF Advisors’
management of the Securities Lending Portfolio, which led the Company to fire Emil
Busse and to sell FAF Advisors to Nuveen.
                   b.    The Compensation Committee knew of FAF Advisors’ actions in
connection with the Securities Lending Program because, according to the Plan
documents, they were responsible for monitoring FAF Advisors.
                   c.    The Trustee, U.S. Bank N.A., knew of FAF Advisors’ actions in
connection with the Securities Lending Program because it was responsible for executing
all of the trades related to the reinvestment of collateral for the Plan.
                   d.    The Investment Committee knew of FAF Advisors’ actions in
connection with the Securities Lending Program because, on information and belief, they
were responsible for monitoring investment managers, such as FAF Advisors.

            313.   As such, each is liable for such breaches by FAF Advisors pursuant to
Section 405(a)(3) of ERISA, 29 U.S.C. § 1105(a)(3).
            314.   The Compensation Committee Defendants maintained the unduly risky and
inappropriate investment allocation strategy, thereby enabling the breaches of FAF
Advisors in adhering to the 100% Equities Strategy, despite dramatic changes in the
financial markets that occurred from late 2007 to mid-2008, including the sharp increase
in volatility in the equities market and the increased correlation among stocks. As such,
the Compensation Committee Defendants are liable for the breaches of FAF Advisors
pursuant to Section 405(a)(2) of ERISA, 29 U.S.C. § 1105(a)(2).
            315.   The Board of Director Defendants appointed the Compensation Committee
Defendants and then failed to appropriately monitor their performance, despite dramatic
changes in the financial markets that occurred from late 2007 to mid-2008, including the
sharp increase in volatility in the equities market and the increased correlation among
stocks. This resulted in their failure to implement a prudent, loyal, and diversified

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Investment Policy and thereby enabled the breaches of the Compensation Committee
Defendants. As such, the Board of Director Defendants are liable for the breaches of
FAF Advisors pursuant to Section 405(a)(2) of ERISA, 29 U.S.C. § 1105(a)(2).
            316.   The Compensation Committee Defendants maintained the unduly risky and
inappropriate investment allocation strategy, thereby knowingly participating in the
breaches of FAF Advisors in adhering to the 100% Equities Strategy, despite dramatic
changes in the financial markets that occurred from late 2007 to mid-2008, including the
sharp increase in volatility in the equities market and the increased correlation among
stocks. As such, the Compensation Committee Defendants are liable for such breaches of
FAF Advisors pursuant to Section 405(a)(1) of ERISA, 29 U.S.C. § 1105(a)(1).
            317.   The Investment Committee Defendants, whose fiduciary responsibilities
included monitoring the performance of the Plan’s investments and reporting on the
same to the Compensation Committee, knowingly participated in and/or by their actions
enabled the breaches of fiduciary duty alleged herein against the Compensation
Committee and FAF Advisors arising out of the 100% Equities Strategy, despite dramatic
changes in the financial markets that occurred from late 2007 to mid-2008, including the
sharp increase in volatility in the equities market and the increased correlation among
stocks. The Investment Committee Defendants are therefore liable for such breaches of
the Compensation Committee Defendants and/or FAF Advisors pursuant to
Section 405(a)(1) and (2) of ERISA, 29 U.S.C. § 1105(a)(1) and (2).
                                           COUNT VIII
                      (KNOWING PARTICIPATION IN BREACHES OF
                   FIDUCIARY DUTY AND PROHIBITED TRANSACTIONS
                              AGAINST U.S. BANCORP)

            318.   Pursuant to Fed. R. Civ. P. 10(c), Plaintiffs hereby re-allege and incorporate

by reference the allegations of the preceding paragraphs.



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            319.   This Count alleges liability for knowing participation in the breaches of

fiduciary duty and/or prohibited transactions pleaded in Counts I through V against U.S.

Bancorp.

            320.   U.S. Bancorp knowingly participated in the several breaches and prohibited

transactions set forth in Counts I through V

            321.   The Company knew of the 100% Equities Strategy employed by the

Compensation Committee Defendants, Investment Committee Defendants, Board of

Director Defendants and FAF Advisors, as shown in the Company’s 2007 Annual Report,

which states, “In establishing its investment policies and asset allocation strategies, the

Company considers expected returns and the volatility associated with different

strategies.” Moreover, the Company knew that, despite dramatic changes in the financial

markets that occurred from late 2007 to mid-2008, including the sharp increase in

volatility in the equities market and the increased correlation among stocks,             the

Compensation Committee Defendants, Investment Committee Defendants, and FAF

Advisors continued to adhere to the 100% Equities Strategy.

            322.   The Company knew that the continued adherence to the 100% Equities

Strategy was imprudent and non-diversified because it further acknowledged in the 2007

Annual Report that “Generally, based on historical performance of the various investment

asset classes, investments in equities have outperformed other investment classes but are

subject to higher volatility. While an asset allocation including bonds and other assets

generally has lower volatility and may provide protection in a declining interest rate

environment, it limits the pension plan’s long-term up-side potential.”
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            323.   The Company also disclosed that it was involved in the decision to continue

to maintain the 100% Equities Strategy for the Plan. The 2007 Annual Report states,

“Given the pension plans’ investment horizon and the financial viability of the Company

to meet its funding objectives, the Committee has determined that an asset allocation

strategy investing in 100 percent equities diversified among various domestic equity

categories and international equities is appropriate.”

            324.   The Company was also involved in the determination of the long term

assumed rate of return as disclosed in the 2007 Annual Report, which states, “The

Company has an established process for evaluating all the plans, their performance and

significant plan assumptions, including the assumed discount rate and the long-term rate

of return,” and “the Company considers a range of potential expected rates of return,

economic conditions for several scenarios, historical performance relative to assumed

rates of return and asset allocation and LTROR information for a peer group in

establishing its assumptions.”

            325.   Moreover, U.S. Bancorp knowingly participated in the decision to maintain

the 100% Equities Strategy, despite dramatic changes in the financial markets that

occurred from late 2007 to mid-2008, including the sharp increase in volatility in the

equities market and the increased correlation among stocks.

            326.   U.S. Bancorp profited from their knowing participation in the fiduciary

breaches and prohibited transactions committed by the Board of Director Defendants, the

Compensation Committee Defendants, and FAF Advisors through fees paid to its

subsidiary, FAF Advisors, and through the creation of excess pension income that
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allowed U.S. Bancorp to project extremely high returns for the pension portfolio, which

improved the Company’s bottom line.

            327.   Under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), the participants of the

Plan are entitled to a constructive trust for their benefit to disgorge all ill-gotten gains

obtained by U.S. Bancorp and to obtain any other appropriate equitable relief.

                             IX.   ENTITLEMENT TO RELIEF

            328.   By virtue of the violations of ERISA described in the preceding paragraphs,
Plaintiffs and the Class, as participants and beneficiaries of the Plan, have standing to sue
the fiduciaries who committed these breaches of fiduciary duty and/or violations of
ERISA pursuant to ERISA §§ 502(a)(2) and 502(a)(3), 29 U.S.C. §§ 1132(a)(2) and
(a)(3).
            329.   Pursuant to ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), Plaintiffs are
entitled to obtain relief under § 409(a), 29 U.S.C. § 1109(a), including: (i) to recover any
losses on behalf of the Plan from any breaching fiduciaries; (ii) to recover profits or
disgorgement of profits resulting from any such breaches; and (iii) other equitable or
remedial relief as the Court deems appropriate, such as permanent injunctive relief and/or
the removal of the current fiduciaries and appointment of an independent fiduciary to
manage the investments of the Plan.
            330.   Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), which permits a
plan participant, beneficiary, or fiduciary to bring an action to redress violations and/or
enforce provisions of Title I of ERISA, including for any injunctive relief that the Court
deems appropriate, Plaintiffs are entitled to sue Defendants for equitable relief.




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                                X.    PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs pray for judgment against Defendants in the following
manner:
            A.    A declaration that the Defendants have breached their fiduciary duties to
the Class in the manner described herein;
            B.    An order requiring each fiduciary found to have breached his/her/its
fiduciary duty to the Plan to jointly and severally pay such amount to the Plan as is
necessary to make the Plan whole for any losses which resulted from said breaches or by
virtue of liability pursuant to ERISA § 405;
            C.    An order requiring each fiduciary found to have breached his/her/its
fiduciary duty to disgorge any profits made through the use of the assets of the Plan. This
includes, but is not limited to, disgorgement of any profits improperly obtained in
violation of ERISA §§ 404 and 406;
            D.    An injunction preventing the fiduciaries of the Plan from engaging in the
100% equities allocation in the future and preventing disloyal decision-making;
            E.    An order removing these fiduciaries from their roles as fiduciaries for the
Plan and an order appointing an independent fiduciary to manage the assets of the Plan;
            F.    An order creating a constructive trust into which all ill-gotten gains, fees
and/or profits paid to any of the Defendants in violation of ERISA shall be placed for the
sole benefit of the Plan and its participants and beneficiaries. This includes, but is not
limited to, the ill-gotten gains, fees and/or profits paid to any of the Defendants that have
been wrongly obtained as a result of breaches of fiduciary duty or violations of ERISA §
406.
            G.    Except insofar as any of the following functions are assigned to a court-
appointed fiduciary, an injunction requiring: (i) Defendants to prudently diversify the
investments of the Plan among appropriate asset classes; (ii) the Compensation
Committee Defendants to review and revise the 100% Equities Strategy of the Plan; (iii)
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the investment manager to properly implement the revised Investment Policy; and (iv) the
Board of Director Defendants and the Compensation Committee Defendants to monitor
the performance of all investment advisors to ensure that an appropriate investment
allocation strategy which prudently diversifies the Plan’s investments is adhered to;
            H.    The costs and expenses of this suit, including expenses for expert witnesses
and reasonable attorneys’ fees pursuant to ERISA § 502(g)(1) and the Court’s inherent
equitable authority and powers; and
            I.    Such other and further relief as the Court deems just and necessary.

Dated: March 20, 2014                        ZIMMERMAN REED, PLLP



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